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           Exhibit F
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                            AN APPRAISAL OF

                          Mack Washington Road Land,
               located at 23000 Block of Mack Washington Road,
                     Hempstead, Waller County, DC 77445
                               File #: 230310011




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                                                              4'

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                             PREPARED FOR:

                        Shook, Hardy, & Bacon, L.L.P.
                         600 Travis Street, Suite 3400
                             Houston, TX 77002


             Date of Value "As Is":         April 12, 2023

                   Date of Report:          April 18, 2023


                                       BY

                      MB LANE & ASSOCIATES, INC.
                     8990 Hempstead Highway, Suite 102
                           Houston, Texas 77008
                             (File No. 23061)
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                              MBLANE
                              &ASSOCIATES
  8990 Hempstead Highway, Suite 102 • Houston, TX 77008 • Office: 713.863.1414 • Website: mblane.com


April 18, 2023

Shook, Hardy, & Bacon, L.L.P.
600 Travis Street, Suite 3400
Houston, TX 77002

Reference:       Mack Washington Road Land: A appraisal of vacant land totaling 25.1320 acres
                 (1,094,750 square feet). The subject property is located along the south line of Mack
                 Washington Road, north of FM 1488, in the 23000 Block of Mack Washington Road,
                 Hempstead, Waller County, TX 77445. File #:230310011

To Whom It May Concern:

In compliance with your request, we visited the above-referenced property, and appraised it as of
April 12, 2023, which is the date of our physical viewing of the subject property. The purpose of
this report is to provide an opinion of the Market Value of the Fee Simple Estate of the above
referenced property. This is an appraisal report as defined by USPAP.

The property rights appraised in this report is the Fee Simple Estate. The persons involved in
preparing this appraisal report are Michael B. Lane, MM and Gary Jones. We are providing a value
opinion based upon a one year exposure period. Please review our "Contingent and Limiting
Conditions", as our value is subject to these provisions.

Market Value, as further defined in this report, is the most probable price which a property should
bring in a competitive and open market under all conditions requisite to a fair sale, the buyer and
seller each acting prudently and knowledgeable, and assuming the price is not affected by undue
stimulus.

According to the client, the subject property has been seized by the federal government for fraudulent
activity. The client requested that the entire site be viewed to determine if there were any structures
or improvements on the subject property. Gary Jones met Mr. Kelsey Morris, who is a realtor and
the property contact provided by the client, at the subject property on April 12, 2023 at 10:00am.
Mr. Morris and Gary Jones physically drove the entire property, and the only improvements observed
was a water well at the northeast corner of the subject tract. There was a wildlife watering station
and a turkey feeder as well, but these are considered to be personal property. The subject is
essentially unimproved vacant land.

We have prepared an appraisal report and have utilized the sales comparison approach to value the
subject site "As Is". Prior to accepting this assignment, the appraisers concluded that they have the
necessary experience and/or knowledge to competently complete the appraisal, and during the
preparation of the appraisal, the appraisers have not discovered any areas in the assignment requiring
appraisal expertise in which we were lacking.
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Shook, Hardy, & Bacon, L.L.P.                                                          April 18, 2023
                                                                                               Page 3
The above statements of appraiser competency applies to knowledge and/or experience for the real
estate appraisal discipline and not other areas of trades, professions or disciplines such as
engineering, surveying, law, etc.

Our property inspection did not reveal, nor did we observe, or are we aware of any natural, cultural,
recreational, environmental, or scientific value influences affecting the subject property.
Additionally, we have not made a specific Americans with Disabilities Act (ADA) compliance
survey and analysis of this property to determine whether or not it is in conformity with the various
detailed requirements of the ADA. The value estimate is predicated on the assumption that no such
influences are present that would affect our value conclusions. We have no expertise in these fields
and no responsibility is assumed for any such conditions or for any expertise, engineering or other
special knowledge required to discover them. Such studies are required before these values can be
relied on by readers of this report.

To the best of our understanding this report conforms to the provisions of FIRREA, as well as the
Uniform Standards of Professional Appraisal Practice adopted by the Appraisal Standards Board of
the Appraisal Foundation.

Based on the physical characteristics of the property, as well as the current market conditions, it is
the appraiser's opinion that the market value of the subject property is based on a 12 month exposure
period. Our opinion of the Market Value of the Fee Simple Estate of the subject property "As Is",
as of the effective date of April 12, 2023 is as follows:

                      ONE MILLION EIGHTY THOUSAND DOLLARS
                                     $1,080,000

There are no hypothetical conditions or extraordinary assumption for this appraisal.

Your attention is now directed to the following report which contains the data and analysis used in
our final value opinion. If after reviewing this report, you have any questions, please do not hesitate
to contact this office.

Yours truly,




Michael B. Lane, MAI                                                                  Gary Jones
TX-1322609-G, Expires 9/30/2023                                  TX-1327865-T, Expires10/31/2024
Telephone: 713-863-1414, ext. 1                                         Telephone: 713-863-1414
email: michaelAmblane.com                                                email: garyAmblane.com
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                                        CERTIFICATION

We certify that, to the best of our knowledge and belief:

(1)      The statements of facts contained in this report are true and correct.

(2)      The reported analyses, opinions, and conclusions are limited only by the reported
         assumptions and limiting conditions, and are our personal, impartial, and unbiased
         professional analyses, opinions, and conclusions.

(3)      We have no present or prospective interest in the property that is the subject of this report,
         and no personal interest with respect to the parties involved.

(4)      We have no bias with respect to the property that is the subject of this report or the parties
         involved with this assignment.

(5)      Our compensation for completing this assignment is not contingent upon the development
         or reporting of a predetermined value or direction in value that favors the cause of the
         client, the amount of the value opinion, the attainment of a stipulated result, or the
         occurrence of a subsequent event directly related to the intended use of this appraisal.

(6)      Our engagement in this assignment was not contingent upon developing or reporting
         predetermined results.

(7)      Our analyses, opinions, or conclusions were developed, and this report has been prepared,
         in conformity with the Uniform Standards of Professional Appraisal Practice and the Code
         of the Professional Ethics of the Appraisal Institute.

(8)      This report is subject to the requirements of the Appraisal Institute relating to review by its
         duly authorized representatives.

(9)      Gary Jones has made a personal site visit to the property that is the subject of this report.
         Michael B. Lane, MAI, has not visited the subject property.

(10)     No one provided significant real property appraisal assistance to the persons signing this
         report.

(11)     As of the date of this report, Michael B. Lane, MAI, has completed the requirements of the
         continuing education program of the Appraisal Institute.

(12)     As of the date of this report, Michael B. Lane, MAI is a Texas State Certified General Real
         Estate Appraiser, and Gary Jones is an Appraiser Trainee authorized by the State of Texas
         and has assisted Mr. Lane on properties similar to the subject property.




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CERTIFICATION (CONTINUED)

(13)    This appraisal assignment was NOT based on a requested minimum value, a specified
        valuation, or the approval of a loan.

(14)    Michael B. Lane and Gary Jones have not performed any valuation services, as an appraiser
        or in any other capacity, for the same client nor other clients, regarding the property that is
        the subject of this report within the three-year period immediately preceding acceptance of
        this assignment.

(15)    The "As Is" market value of the Fee Simple Estate of the subject property, as of April 12,
        2023, is as follows:

                                            $1,080,000

There are no hypothetical conditions or extraordinary assumption for this appraisal.




Michael B. Lane, MAI                                                                 Gary Jones
TX-1322609-G, Expires 9/30/2023                                 TX-1327865-T, Expires10/31/2024
Telephone: 713-863-1414, ext. 1                                        Telephone: 713-863-1414
email: miehaelAmblane.com                                               email: garyAmblane.com




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                 SUMMARY OF SALIENT FACTS AND CONCLUSIONS

Identification                Mack Washington Road Land.

Client:                       Shook, Hardy, & Bacon, L.L.P.

File Number:                  230310011

Location                      The subject property is located along the south line of Mack
                              Washington Road, north of FM 1488. The subject property
                              is located in the 23000 Block of Mack Washington Road,
                              Hempstead, Waller County, TX 77445.

Purpose of the Appraisal      The purpose of this appraisal is to provide an opinion of the
                              "As Is" market value of the herein legally described property.

Property Right Appraised      Fee Simple Estate.

Land Size                     25.1320 acres (+1,094,750 square feet).

Improvements                  According to the client, the subject property has been seized
                              by the federal government for fraudulent activity. The client
                              requested that the entire site be viewed to determine if there
                              were any structures or improvements on the subject property.
                              Gary Jones met Mr. Kelsey Morris, who is a realtor and the
                              property contact provided by the client, at the subject property
                              on April 12, 2023 at 10:00am. Mr. Morris and Gary Jones
                              physically drove the entire property, and the only
                              improvements observed was a water well at the northeast
                              corner of the subject tract. There was a wildlife watering
                              station and a turkey feeder as well, but these are considered to
                              be personal property. The subject is essentially unimproved
                              vacant land.

Highest and Best Use
  As Vacant:                  Agricultural/Residentia use.

Zoning                        AR - Agricultural/Residential District.

Utilities:                    There was a private water well observed at the time of the site
                              visit. It is unknown if there is a septic system.

Flood Plain                   According to the FEMA Flood Insurance Map 48437C0135F,
                              published for Waller County and dated May 16, 2019, the
                              subject property appears to be located Flood Zone X, which


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SUMMARY OF SALIENT FACTS AND CONCLUSIONS - CONTINUED

                                    is an area determined to be outside the 0.2% annual chance
                                    flood (outside the 500-year flood plain). This determination
                                    is made by graphic plotting only, and is not guaranteed. We
                                    recommend that a surveyor determine precise flood plain
                                    status for the subject site. A copy of a portion of the flood
                                    map is included in the addenda section of this report.

OPINIONS OF VALUE:

Land Value:                         $1,080,000

Market Value "As Is":               $1,080,000

Exposure Period:                    12 Months
Marketing Period:                   12 Months
Effective Date:                     April 12, 2023
Date of Report:                     April 18, 2023

There are no hypothetical conditions or extraordinary assumption for this appraisal.




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                       CONTINGENT AND LIMITING CONDITIONS

This appraisal is subject to the following limiting conditions.

The legal description furnished to us is assumed to be correct. We assume no responsibility for
matters legal in character, nor do we render any opinion as to the title, which is assumed to be good.
Any existing liens and encumbrances have been disregarded and the property appraised as though
free and clear under responsible ownership and competent management, unless otherwise indicated.

We have made no survey and assume no responsibility in connection with such matters. We believe
the information in this report furnished by others to be reliable, but we assume no responsibility for
its accuracy. This includes, but is not limited to, information obtained in regard to flood plains,
wetlands, geological fault lines, sufficiency of public utilities, and land or surface subsidence. The
construction and condition of the improvements mentioned in the body of this report is based on
observation and no engineering study has been made, unless previously noted, which would discover
latent defects. No certification as to construction or any of the physical aspects could be given unless
a proper engineering study were made.

No fault line, flood plain, or subsidence study has been made by the appraisal firm and could be
under taken only by a qualified engineering firm.

The distribution of the total valuation between land and improvements in this report applies only
under the existing program of utilization. The separate valuations for land and improvements must
not be used in conjunction with any other appraisal, and are invalid if so used.

We are not required to give testimony or attendance in court by reason of this appraisal with
reference to the property in question, unless arrangements have been made previously.

Possession of this report or a copy thereof does not carry with it the right of publication. It may not
be used for any purpose by anyone other than the addressee without the previous written consent of
the appraiser.

Neither all, nor any part of the contents of this report shall be conveyed to the public through
advertising, public relations, news, sales or other media, without the consent and approval of the
author, particularly as to valuation conclusions, and identity of the appraiser or firm with which
he/she is connected, or any reference to the Appraisal Institute, or the MAI designation.

This report is written in conformity with the professional standards of practice and code of ethics of
the Appraisal Institute, the Uniform Standards of Professional Appraisal Practice and the rules of the
Texas Real Estate Commission.

Unless otherwise stated in this report, the existence of hazardous substances, including without
limitation asbestos, polychlorinated biphenyls, petroleum leakage, or agricultural chemicals, which
may or may not be present on the property, or other environmental conditions, were not called to the
attention of nor did the appraiser become aware of such during the appraiser's inspection. The
appraiser has no knowledge of the existence of such materials on or in the property unless otherwise
stated. The appraiser, however, is not qualified to test such substances or conditions. If the presence
of such substances, such as asbestos, urea formaldehyde foam insulation, or other hazardous

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CONTINGENT AND LIMITING CONDITIONS - CONTINUED

substances or environmental conditions, may affect the value of the property, the value estimated is
predicated on the assumption that there is no such condition on or in the property or in such
proximity thereto that it would cause a loss in value. No responsibility is assumed for any such
conditions, nor for any expertise or engineering knowledge required to discover them.

The appraiser represents that he/she is not an expert to appraise insulation or other products banned
by the Consumer Products Safety Commission which might render the property more or less
valuable. In connection with this appraisal, the appraiser has not inspected or tested for, nor taken
into consideration in any respect the presence or absence of insulation or other said products increase
or decrease in the value of the property from the value placed thereon by the opinion of the appraiser.

The Americans with Disabilities Act (ADA) became effective January 26, 1992. I (we) have not
made a specific compliance survey and analysis of this property to determine whether or not it is in
conformity with the various detailed requirements of the ADA. It is possible that a compliance
survey of the property together with a detailed analysis of the requirements of the ADA could reveal
that the property is not in compliance with one or more of the requirements of the act. If so, this fact
could have a negative impact upon the value of the property. Since I (we) have no direct evidence
relating to this issue, I (we) did not consider possible noncompliance with the requirements of ADA
in estimating the value of the property.

It is understood that this assignment and the payment of our fee is not dependent or contingent upon
any loan commitment, sale, trial outcome, receipts of funds by you, or any other condition or
contingency.

The liability of MB Lane and Associates, Inc., its owner and staff, is limited to the Client only and
to the amount of the fee actually paid for the services rendered, as liquidated damages, if any related
dispute arises. Further, there is no accountability, obligation, or liability to any third party. If this
report is placed in the hands of anyone other than Client, the Client shall make such party aware of
all limiting conditions and assumptions of the assignment and related discussions. The Appraiser
is in no way to be responsible for any costs incurred to discover or correct any deficiencies of any
type present in the property; physically, financially, and/or legally. Client also agrees that in case
of lawsuit (brought by lender, partner or part owner in any form of ownership, tenant or any party),
Client will hold Appraiser(s) completely harmless from and against any liability, loss, cost or
expense incurred or suffered by Appraiser(s) in any such action, regardless of its outcome.

"These reports may be relied upon by the CLIENT, in determining whether to make a loan evidenced
by a note ("the Property Note") which is further secured by the Property. These reports may be relied
upon by the purchaser or assignee of the Property Note in determining whether to acquire the
Property Note or Interest therein. I addition, these reports may be relied upon by any rating agency
involved in rating the securities secured by, or representing an Interest in, the Property Note. These
reports may be used in connection with materials offering for sale the Property Note, or an interest
in the Property Note, and in presentations to any rating agency. With respect to the foregoing, these
reports speak only as of the Origination date of these reports unless specifically updated through a
supplemental report."




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                            INTRODUCTION
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                                         SCOPE OF WORK

Extent To Which The Property Was Identified We were not provided with a survey of the subject
site. In lieu of this, we relied upon the Waller County Appraisal District records for the identification
of the subject site. We have assumed this information to be accurate and reliable.

Extent To Which Tangible Property Was Visited In preparing this appraisal, we visited the
subject property and viewed the site as vacant land. According to the client, the subject property has
been seized by the federal government for fraudulent activity. The client requested that the entire
site be viewed to determine if there were any structures or improvements on the subject property.
Gary Jones met the property contact, Mr. Kelsey Morris, at the subject property on April 12, 2023
at 10:00am. Mr. Morris and Gary Jones physically drove the entire property, and the only
improvements observed was a water well at the northeast corner of the subject tract. There was a
wildlife watering station and a turkey feeder as well, but these are considered to be personal property.
The subject is unimproved vacant land

We drove the immediate and general market areas. We visited the subject property in order to
develop impressions of physical characteristics based on visual observations of apparent, not
unapparent conditions. We are not engineers and are not qualified to the presence of wetlands and
the like.

We are not qualified to detect or identify hazardous substances, which may, or may not, be present
on, in, or near the subject property. The presence of hazardous materials may negatively affect
market value. We have no reason to suspect the presence of hazardous substances, and we valued
the subject assuming that none are present. No responsibility is assumed for any such conditions
or for any expertise or engineering services of specialists for the purpose of conducting inspections,
engineering studies, or environmental audits. While we refer to FEMA flood maps, we are not
surveyors and not qualified to make flood plain determinations, and we recommend that a qualified
party be consulted before any investment decision is made.

The Type And Extent Of Data Researched We conducted a search for sales of similar land tracts
in the immediate area. Our data sources were our own internal files, the LoopNet and Costar data
services. Our search for data concentrated on the subject's immediate market area, but because of
the lack of sales, was expanded to include the entire Greater Houston Metropolitan market area. Our
search for data extended back three years. We supplemented these sources with information from
knowledgeable brokers, particularly those with listings in the immediate area.

Texas is a non-disclosure state. It is important that the intended users of this appraisal understand
that in Texas, there is no legal requirement for grantors or grantees to disclose any information
relative to a transfer of real property, other than the recording of the deed itself In Texas, the deed
contains no information about the transaction, including the purchase price. As a result, no data
source provides absolute coverage of all transactions. It is possible that there are sales of which we
are unaware. Our data sources provide all the data typically available to appraisers in the normal
course of business.




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SCOPE OF WORK - CONTINUED

The Type And Extent Of Analysis Applied The value set forth herein this appraisal report was
determined after application and analysis by the Sales Comparison Approach - Land. Given the
subject is vacant land, we feel this approach is the only approach applicable to this assignment.

Significant Real Property Appraisal Assistance Provided No one provided significant real
property appraisal assistance to the persons signing this report.

General This Appraisal Report has been prepared under Standards Rule 2-2(a) of an appraisal
performed under Standards Rule 1 of the Uniform Standards of Professional Appraisal Practice
(USPAP). The level of reporting in this appraisal report is considered to be between the minium
level and the maximum level. It has been our intention to prepare this appraisal in conformity with
the Uniform Standards of Professional Appraisal Practice (USPAP) ofthe Appraisal Foundation, and
the Code of Ethics and the Standards of Professional Practice of the Appraisal Institute. Engineering
studies, ADA determinations, surveys, title reports, flood plain determinations, and environmental
audits are beyond the scope of work of this appraisal.

Purpose, Intended Use, and Users of the Appraisal The purpose of this appraisal is to provide
an opinion as to the "As Is" Market Value of the herein legally described property. It is our
understanding that the client intends to use this appraisal report for asset valuation purposes. The
client also represents that the report will be used only representatives of Shook, Hardy, & Bacon,
L.L.P. for the purposes set forth above.

Fee Simple Estate Fee simple estate is defined by the Appraisal Institute The Dictionary of Real
Estate Appraisal, 7th Edition, copyright 2022, page 73, as being:

  "Absolute ownership unencumbered by any other interest or estate, subject only to the limitations
  imposed by the governmental powers of taxation, eminent domain, police power and escheat. "

Leased Fee Estate Leased Fee Estate is defined by the Appraisal Institute The Dictionary of Real
Estate Appraisal, 7th Edition, copyright 2022, page 105, as being:

  "An ownership interest held by the lessor, which includes the right to receive the contract rent
  specified in the lease plus the reversionary right when the lease expires."

Property Rights Appraised The property rights being appraised in this report consist of the Fee
Simple Estate of the subject property.

Date of the Appraisal Report The preparation of this appraisal report was completed on April 18,
2023.

Effective Date of the Appraisal The descriptions, analyses, and conclusions of this report for the
subject property are applicable as of the effective date of April 12, 2023.




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SCOPE OF WORK - CONTINUED

Competency Statement. Prior to accepting this assignment, the appraisers concluded that they have
the necessary experience and/or knowledge to competently complete the appraisal, and during the
preparation of the appraisal, the appraisers have not discovered any areas in the assignment requiring
appraisal expertise which they were lacking.

Type and Definition of Value The type of value necessary to produce a credible result in this
assignment is market value, whereby the value is to be the most probable price in terms of cash.
Market Value is defined by the Office of the Comptroller of the Currency (12 CFR Part 34) as
follows:

"Market Value means the most probable price which a property should bring in a competitive and
open market under all conditions requisite to afair sale, the buyer and seller each actingprudently
and knowledgeable, and assuming the price is not affected by undue stimulus. Implicit in this
definition is the consummation of a sale as of a specified date and the passing of titlefrom seller to
buyer under conditions whereby:

    1.      Buyer and seller are typically motivated:
    2.      Both parties are well informed or well advised, and acting in what they consider their
            own best interests;
    3.      A reasonable time is allowedfor exposure in the open market;
    4.      Payment is made in terms of cash in U.S. Dollars or in terms offinancial arrangements
            comparable thereto; and
    5.      Theprice represents the normal considerationfor theproperty sold unaffected by special
            or creativefinancing or sales concessions granted by anyone associated with the sale. "

Market Rent Market Rent is defined by the Appraisal Institute The Dictionary of Real Estate
Appraisal, 7th Edition, copyright 2022, pages 116 and 117, as:

"The most probable rent that a property should bring in a competitive and open market under all
conditions requisite to a fair lease transaction, the lessee and lessor each acting prudently and
knowledgeably, and assuming the rent is not affected by undue stimulus. Implicit in this definition
is the execution of a lease as of a specified date under conditions whereby:

    •    Lessee and lessor are typically motivated;
    •    Both parties are well informed or well advised, and acting in what they consider their best
         interests;
    •    Payment is made in terms of cash or in terms offinancial arrangements comparable thereto;
         and
    •    The rent reflects specified terms and conditions typically found in that market, such as
         permitted uses, use restrictions, expense obligations, duration, concessions, rental
         adjustments and revaluations, renewal and purchase options, frequency of payments
         (annual, monthly, etc.), and tenant improvements (Tis)."




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SCOPE OF WORK - CONTINUED

Estimate of Exposure Time Exposure time may be defined as "the estimated length of time the
property interest being appraised would have been offered on the market prior to the hypothetical
consummation of a sale at market value on the effective date of the appraisal." Our value opinion
is based upon a one year exposure period which is supported by the improved sale items included
herein as well as discussions with a number of professionals involved in marketing and selling
similar properties.




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               FACTUAL DESCRIPTIONS OF THE PROPERTY




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                           IDENTIFICATION OF THE PROPERTY

The subject property is located along the south line of Mack Washington Road, north of FM 1488.
The subject property is located in the 23000 Block of Mack Washington Road, Hempstead, Waller
County, TX 77445. Please see the Waller County Tax Record in the addenda for the legal
description of the subject property.

                                     PROPERTY HISTORY

According to the client, the subject property has been seized by the federal government for fraudulent
activity. The client requested that the entire site be viewed to determine if there were any structures
or improvements on the subject property. Gary Jones met Mr. Kelsey Morris, who is a realtor and
the property contact provided by the client, at the subject property on April 12, 2023 at 10:00am.
Mr. Morris and Gary Jones physically drove the entire property, and the only improvements observed
was a water well at the northeast corner of the subject tract. There was a wildlife watering station
and a turkey feeder as well, but these are considered to be personal property. The subject is
essentially unimproved vacant land.

Based on the Waller Appraisal District records, the subject is currently held in the receivership of
John Lewis, Jr., through a Final Summary Judgement dated September 29, 2022. Prior to the Final
Summary Judgement, the subject was held in the ownership of CBT Group, LLC, who purchased
the subject from Odis Styers on March 29, 2022 for a reported purchase price of $2,000,000, or
$79,580 per acre, according to the property contact Mr. Kelsey Morris. Mr. Morris stated this was
an off-market transaction. Based on our value "As Is" of the subject tract, this purchase price is well
above market for unknown reasons and not considered to be reasonable. Odis Styers had held
ownership in excess of the pervious three years. To the best of our knowledge, the subject has not
been involved in any other transactions in the past three years.

                                STATEMENT OF OWNERSHIP

According to information provided to us, as of the date of this appraisal, the subject property is
currently held in the receivership of John Lewis, Jr., through a Final Summary Judgement dated
September 29, 2022.




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                                             AREA

Location. The subject property is located in Hempstead, approximately 40 miles northwest of the
Central Business District of the City of Houston. On the following pages is the Moody's Analytics
Houston-The Woodlands-Sugar Land November 2022 market report.




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     MOODY'S                           HOUSTON-THE WOODLANDS-SUGAR LAND TX
     ANALYTICS
                                                                                                                                              Data Buffet. MSA code: IUSA_MHOU
               ECONOMIC DRIVERS                              EMPLOYMENT GROWTH RANK                       RELATIVE COSTS                     VITALITY            QUALITY
      ENERGY&             MANUFAC-           LOGISTICS              2021-2023          2021-2026          LIVING           BUSINESS           RELATIVE            OF LIFE

                           IiY                                        12                  16           105% 97%                               0.35                232
                                                                    1st quintile        1st quintile                                          Rank: 93
      RESOURCES            TURING
                                                                           Best=1, Worst=410                        U.S.=10035              Best=1, Worst=403 Best=1, Worst--378
            BUSINESS CYCLE STATUS                                                                          ANALYSIS
                                                                 Recent Performance. HoustonThe Wood-                 gains. Further, mortgage rates have risen to
                            Mid
                          Expansion                           lands-Sugar Land's economy is advancing strong-         above 7%, more than 3 percentage points higher
                                      Late                    ly, with job growth in the past year 2 percentage       than a year ago. Moreover, the combination of
               Recovery             Expansion
                                                              points higher than the national average. Employ-        previous price increases and reduced credit avail-
                                                              ment surpassed its pre-pandemic peak in April           ability has caused affordability to fall by 37%, a
          In Recession                   At Risk              ahead of the U.S., which reached this milestone         bit more than the national decline. As a result,
                                                              in July. Most private sector industries are grow-       new permits for single-family homes have fallen
                                                              ing faster than their respective national counter-      sharply by more than 33% in just six months. In
        STRENGTHS & WEAKNESSES
                                                              parts; construction, in particular, has proceeded       contrast, multifamily construction is still elevat-
                   STRENGTHS                                  at a double-digit pace. The local PMI has been in       ed. One driver is the reduction in single-family
 • Leadership in oil and gas technology supports              expansion mode for two years as of September.           affordability, which has boosted rental demand;
   technical and professional service jobs.                   The declining unemployment rate is a percentage         HOU's apartment vacancy rate is the lowest in
 s Significant trade and export links, owing to               point higher than precrisis because the labor force     five years. However, long term, single- and mul-
   location on the Gulf coast of Texas.                       has grown faster than the national average in the       tifamily homebuilding will increase, lifted by
                   WEAKNESSES                                 past year. Housing market data have weakened.           above-average employment, population growth,
 • Unpredictable energy markets add to the                       Mining and manufacturing. The energy in-             and better affordability than in Dallas or Austin.
   economy's volatility.                                      dustry will continue to support the local econ-             Professional services. The rebound in the
 D Industrial diversity is lower than in other metro
                                                              omy, but downside risks have increased. The             energy industry will benefit a variety of busi-
   areas of comparable size.                                  West Texas Intermediate crude oil price has been        ness services. Professional services returned to
                                                              exceptionally volatile in 2022; it jumped from          the industry's precrisis level in June as demand
                                                              $75 per barrel in January to $120 per barrel in         for engineers and geologists increased. Addition-
                  FORECAST RISKS                              March at the start of Russia's invasion of Ukraine      ally, the EU's need for natural gas has heightened
 SHORTTERM          •            LONG TERM       •            and rose again in June when financial markets           demand for liquefied natural gas, driving gains in
                                                              thought the EU would forbid the insuring of             the distribution industry as HOU is a major ter-
 RISK EXPOSURE
 2022-2027               27 1st quintile          Most=1
                                                 Least=403
                                                              Russian oil tankers. However, as global energy
                                                              demand showed signs of weakening, the price
                                                                                                                      minal. Further, the banking requirements of the
                                                                                                                      energy industry and the overall economy have
                                                              fell back into the $80 per barrel range in Sep-         lifted financial services employment. However,
                          UPSIDE                              tember. The high level of uncertainty has caused        the latter industry is now at risk from the hous-
 s   Better than anticipated in-migration boosts
                                                              the recovery in active Texas drill rigs to pause        ing market decline.
   personal services.
 • Mining and manufacturing rise faster than                  since midsummer at a level just below that in              Houston-The Woodlands-Sugar Land
   expected because of elevated oil prices.                   January 2020. Still, the increased drilling activ-      should outperform the nation over the com-
                                                              ity compared with 2021 has supported HOU's              ing year, led by manufacturing and business
                  DOWNSIDE                                    manufacturing sector. Much of this production           services, though weakening residential con-
 • Housing slows down more than expected due to
                                                              is equipment, fabricated metal parts, and other         struction will be an offset. Longer term, the
   rising mortgage rates.
 • Nonresidential building weakens more than                  supplies needed for exploration. Thus, industry         concentration of energy-related industries;
   expected due to the trend in remote working.               employment is up 7% year over year-nearly               robust population growth; and expansion in
                                                              twice the national pace.                                housing, transportation and distribution in-
                                                                 Residential construction. Homebuilding will          dustries will help propel above-average gains
                                                              weaken during the coming year, though longer-           for the metropolitan area.
                  MOODY'S RATING                              term prospects are more optimistic. House pric-            EdwardFriedman                   1-866-275-3266

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        Aaa               AS
                              COUNTY
                              
                           OF
                              MAR
                                 17,
                                     2017
                                        
                                                              es have stopped climbing after a year of strong            November 2022          helpeconomy@moodys.com

     2016                 2018        2019      2020     2021                                                  2022          2023       2024       2025       2026 2027
   478.0       479.8       490.8   511.3   506.9          498.0           Gross metro product (C12$ big         504.0          521.6      537.9      556.7   578.6 600.3
     -0.5        0.4         2.3     4.2    -0.8            -1.8                      % change                     1.2            3.5        3.1       3.5     3.9     3.8
 2,992.6     3,020.4     3,087.9 3,160.4 2,999.8         3,066:1              Total employment (ths)          3,245.4        3,335:1    3,381.0    3,425.3 3,458.5 3,493.4
     -0.0        0.9         2.2     2.3     -5.1            2.2                      % change                    5.8            2.8         1.4        1.3    1.0     1.0
      5.3         5.1        4.4     3.8      8.7            6.4           Unemployment rate (%)                   4.7            4.4       4.0         3.7    3.8     3.9
     -4.4         7.7        6.8     41       2.3            7.0         Personal income growth (%)               6.9           10.3        6.8        5.9     6.2     5.9
    62.3        63.6        66.1    68.0    68.5            70.9        Median household income ($ ths)          73.3            77.7      80.8       83.6    86.8    89.9
 6,806.5     6,900.1     6,976.1 7,0661 7,154.9          7,235.9                Population (ths)               7,3411         7,451.1   7,548.5    7,640.2 7,730.2 7,820.8
      2.0         1.4         1.1    1.3      1.3             1.1                  % change                        1.5            1.5        1.3        1.2    1.2     1.2
     71.6       33.4        23.0    37.9    42.3            39.0              Net migration (ths)                56.6           61.8       49.8       44.6    43.6    44.9
  35,367     36,348       40,511 39,507   50,175         52,740            Single-family permits (#)           49,789        42,447     44,823      45,497 46,383 46,791
   9,365       6,047     16,967 24,165 20,625            16,544             Multifamily permits (#)            31,888        32,217      25,519     21,542 17,892 14,856
   245.6       255.7       267.3   277.7   289.7           317.8        FHFA house price (1995Q1=100)           359.4          342.6      323.5      315.9   319.8   327.8


MOODY'S ANALYTICS / Precis® U.S. Metro / November 2022
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                                          ECONOMIC HEALTH CHECK                                                                                                     BUSINESS CYCLE INDEX
 3-MO MA                                         May 22        Jun 22             Jul 22          Aug 22             Sep 22            Oct 22                                 JAN 2012=100
  Employment, change, ths                                            21.4             22.1                                                           
                                                                                                                                                     150
  Unemployment rate, %                              4.8               4.7              4.6               4.6   F            4.5               4.4    140
                                                                                                                                                     
  Labor force participation rate, %                62.4           62.8               63.0               63.1              63.1              63.2     
                                                                                                                                                     130
  Average weekly hours, #                          36.81          36.7               36.8              36.4              36.5               36.7
                                                                                                                                                     120
                                                                                                                                                     
 Industrial production, 2012=100                   113.6         114.4             115.4              116.3               117.1            117.2
                                                                                                                                                     
                                                                                                                                                     110
  Residential permits, single-family, #           57,157       53,649             47,712            44,17             41,265             42,152
                                                                                                                                                     
                                                                                                                                                     100
  Residential permits, multifamily, #            22,401        28,695            34,710            40,5              36,336              37,183
 Dec/Dec                                         Dec 16        Dec 17            Dec 18            Dec 19            Dec 20             Dec 21        
                                                                                                                                                      90
                                                                                                                                                           12 13 14
                                                                                                                                                              15
                                                                                                                                                                     16
                                                                                                                                                                        17
                                                                                                                                                                           18
                                                                                                                                                                              19
                                                                                                                                                                                 20
                                                                                                                                                                                    21
                                                                                                                                                                                       22
                                                                                                                                                                                         
  Employment, change, ths                            2.5          49.3               83.2              54.7           -183.6              151.8
                                                                                                                                                                      
                                                                                                                                                                      HOU             TX
                                                                                                                                                                                                
                                                                                                                                                                                                  U.S.
                               o MA           Inchanged from prior 3-mo MA
 Sources: BLS, Census Bureau, Moody'sAnalytics                                                                                                       Source: Moody'sAnalytics

                                      CURRENT EMPLOYMENT TRENDS                                                                                                       DIFFUSION INDEX                      I=
                  % CHANGE YR AGO                                                % CHANGE YR AGO, 3-MO MA                                                       3-DIGIT NAICS LEVEL, 6-MO MA
  15
  
  10
  
                                                               =Ik
                                                               Total
                                                                                          Oct 21
                                                                                                 5.1
                                                                                                                       AMI LOct 22
                                                                                                                         5.9    6.2
                                                                                                                                                     
                                                                                                                                                     80
                                                                                                                                                     
                                                                                                                                                     75
                                                               Mining                          -4:1                    10.9  15.6
   5
                                                                Construction                     2.3                     6.0  14.2                   
                                                                                                                                                     70
   
   0                                                            Manufacturing                   0.9                      4.2    6.9                  
                                                                                                                                                     65
  
  -5                                                            Trade                           4.0                      6.8    5.9
                                                                Trans/Utilities                 4.3                      6.4    3.7                  
                                                                                                                                                     60
 
 -10                                                            Information                   10.9                      12.4    5.2                  
                                                                                                                                                     55
                                                                Financial Activities            4.2                      3.2    3.2
 -15
                                                                                                                                                  
                                                                                                                                                     50
                                                                Prof & Business Svcs.           5.8                      3.8    5.5
       17
              18
                        19
                                  20
                                          21
                                                       22
                                                              Edu & Health Svcs.               5.1                     6.3    5.7                  
                                                                                                                                                     45
         Government                                             Leisure & Hospitality          16.3                     12.3  13.0                         
                                                                                                                                                           14        
                                                                                                                                                                    15   16    
                                                                                                                                                                               17      
                                                                                                                                                                                      18  19      21
                                                                                                                                                                                                 20      
                                                                                                                                                                                                           22
                                    Goods producing
                                                                Other Services                  9.6                      4.1    1.9                             -      
                                                                                                                                                                      HOU              TX
                                                                                                                                                                                                 
                                                                                                                                                                                                   U.S.
                         Private services
                                                                Government                       1.9                     3.2    1.0
 Sources: BLS, Moody'sAnalytics                                  Sources: BLS, Moody'sAnalytics                                                     Sources: BLS, Moody'sAnalytics

                               RELATIVE EMPLOYMENT PERFORMANCE                                                                                                            HOUSE PRICE
                                      JAN 2012=100                                                                   FORECAST                                             1998Q1=100, NSA
                                                                                                                   VS. 6 MO PRIOR                    
                                                                                                                                                     350
 
 135
 
 130                                                 I                                                                                               
                                                                                                                                                     300
                                                                                                                      2-Yr           5-Yr
 
 125                                                                                                                                                 
                                                                                                                                                     250
 
 120                                                                                                                 4 4                             
                                                                                                                                                     200
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 115
 
 110                                                                                                                <i>                              
                                                                                                                                                     150
 
 105                                                                                                                                                 
                                                                                                                                                     100
 
 100                                                                                                                41> 1                             
                                                                                                                                                      50
  
  95                                                                                                                                                        
                                                                                                                                                            98       
                                                                                                                                                                     01   
                                                                                                                                                                          04     
                                                                                                                                                                                 07    
                                                                                                                                                                                       10   
                                                                                                                                                                                            13    
                                                                                                                                                                                                  16       22
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                                              25F
                                                  26F
                                                     
                                                                                                                                                                      
                                                                                                                                                                      HOU             
                                                                                                                                                                                      TX          
                                                                                                                                                                                                  U.S.
                              
                              HOU            
                                             TX               
                                                              U.S.
 Sources: BLS, Moody'sAnalytics                                                                                                                      Sources: FHFA, Moody'sAnalytics
            RENTAL AFFORDABILITY                                                  HOUSE PRICE TRENDS                                                        HOUSING AFFORDABILITY
   GREATER THAN 100=MORE AFFORDABLE                                                                                                                       GREATER THAN 100=MORE AFFORDABLE
 
 200                                                             
                                                                 50
                                                                                                                                                     
                                                                                                                                                     240
 
 190                                                             
                                                                 40
                                                                                                                                                     220
                                                                                                                                                     
 
 180                                                             
                                                                 30                                                                                  
                                                                                                                                                     200
 170
                                                              
                                                                 20                                                                                  
                                                                                                                                                     180
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 160                                                             
                                                                 10                                                                                  
                                                                                                                                                     160
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                                                                     0                   •1 111111111111            10.......111111111111111111      140
                                                                                                                                                     
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 150                                                                                   1 r"
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                                                                                                                                                     120
                                                                 
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                                                                 -20                                                                                 
                                                                                                                                                     100
 
 130                                                                                                                                                          05
                                                                                                                                                            01 03  07  11
                                                                                                                                                                      09  13 15 17
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                                                                                                                                                                                      
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                                                                            98    
                                                                                  01       
                                                                                           04      
                                                                                                   07       10
                                                                                                                  13
                                                                                                                           16
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           97 99  03
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                        07
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                                               
                                                                                 
                                                                                 Overvalued                      
                                                                                                                 Undervalued                                          
                                                                                                                                                                      HOU              
                                                                                                                                                                                       TX          
                                                                                                                                                                                                   U.S.
               
               HOU       -     TX
                                          
                                            U.S.
 Sources: Census Bureau, BLS, Moody'sAnalytics                   Source: Moody'sAnalytics                                                           Sources: NAR, Moody'sAnalytics


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                                           EMPLOYMENT AND INDUSTRY                                                                                         ENTREPRENEURSHIP
                     TOP EMPLOYERS                                                     INDUSTRIAL DIVERSITY                                              BROAD-BASED START-UP RATE
 Exxon Mobil Corp.                                          13,000                                Most Diverse (U.S.)                                            U.S.=100
 Wood                                                       11,960                        1.00
                                                                                                                                                               
                                                                                                                                                                   2020
 Landry's Inc.                                              11,800




                                                                                                    •
 Shell Oil Co.                                               11,507                       0.80
                                                                                          
 Fort Bend ISD                                              11,000                                         0.66
                                                                                                           
 Schlumberger Ltd.                                          10,976                        0.60
                                                                                                                                              
                                                                                                                                                  0       
                                                                                                                                                          20       
                                                                                                                                                                   40       
                                                                                                                                                                            60        
                                                                                                                                                                                      80     100
                                                                                                                                                                                                  120
                                                                                                                                                                                                     
 BP North America                                             9,537                                                                                                                
                                                                                                                                                                                      TX
                                                                                                                                                                        HOU
 S & B Engineers and Constructors Ltd                         7,824                       0.40
                                                                                          
 Staff Force Inc.                                             7,502                                                                            Sources: Census Bureau, Moody'sAnalytics
 Chevron Corp.                                                6,502                       0.20
                                                                                          
 HAZA Foods LLC                                               6,500
                                                                                                                                                                     EXPORTS
 Spring ISD                                                  4,948                        0.00
                                                                                                                                           Product - 2019
 Fiesta Mart Inc.                                            4,500                                   Least Diverse                             Food and kindred products                              ND
 Lamar CISD                                                   4,363
                                                                                    EMPLOYMENT VOLATILITY                                      Chemicals                                        31,095.7
 Conroe ISD                                                    4,118
                                                                                                                                               Primary metal manufacturing                            ND
 Occidental Petroleum                                         3,666                      fluctuations                Relative to U.S.
 Fort Bend County                                             2,914                                                                         Fabricated metal products                              ND
 KBR Inc.                                                     2,900                                                                            Machinery, except electrical                       6,741.6
 JPMorgan Chase                                               2,800         
                                                                                                                                               Computer and electronic products                  5,360.6
 Deloitte                                                     2,589                                                                            Transportation equipment                               ND
 Sources: Houston BusinessJournal, 2020, Houston Chronicle, 2016                                                                               Miscellaneous manufacturing                            ND
                                                                           60
                                                                           
                                                                                                                                               Other products                                    13,161.3
                                                                                                                               
                                                                           40
                                                                           
                                                                                         
                                                                                         89°0                                                  Total                                           129,656.0

                             PUBLIC                                                                                                            Lion        - 2020
 Federal
 State
 Local
                                                           31,148
                                                          92,904
                                                         299,308       r
                                                                           20
                                                                           


                                                                             
                                                                                              i                                                Africa
                                                                                                                                               Asia
                                                                                                                                               European Union
                                                                                                                                               Canada & Mexico
                                                                                                                                                                                                  3,570.2
                                                                                                                                                                                                 32,311.5
                                                                                                                                                                                                 15,431.1
                                                                                                                                                                                                28,750.4
 2021                                                                  r    Not due to U.S.      Due to U.S.                   
                                                                                                                                               South America                                    14,901.4
                                  COMPARATIVE EMPLOYMENT AND INCOME                                                                            Rest of world                                      9,573.7
                                                                                                                                               Total                                           104,538.2
                                                   % OF TOTAL EMPLOYMENT                           AVERAGE ANNUAL EARNINGS
                                                   HOU          TX                                     HOU          TX     U.S.                 % of GDP                                              21.4
 Mining                                              2.0        1.4   0.4                                 nd $202,521 $140,972                  Rank among all metro areas                             22
 Construction                                        6.8        5.8    5:1                           $74,939   $70,189  $74,543                Sources: BEA, International Trade Administration, Moody's
 Manufacturing                                       6.9        6.9    8.5                          $131,070 $104,973 $95,006                  Analytics
  Durable                                           60.7       63.1  62.2                                 nd $102,268 $98,900                                   PRODUCTIVITY
  Nondurable                                        39.3      36.9   37.8                                 nd $109,432 $88,725
                                                                                                                                                         REAL OUTPUT PER WORKER, $
 Transportation/Utilities                            5.4        5.0   4.5                                 nd  $69,502 $62,962
 Wholesale Trade                                     5.3        4.7   3.9                                 nd  $105,177 $104,126
 Retail Trade                                       10.0      10.6   10.5                            $41,363  $42,393   $43,812
 Information                                         1.0        1.6    1.9                           $85,410 $109,036 $167,037
 Financial Activities                                5.5        6.6   6.0                            $56,531   $54,316  $65,977
                                                                                                                                                                 
 Prof. and Bus. Services                            16.4      14.9   14.5                                 nd   $77,456 $86,343                                                             ffM
                                                                                                                                                                                           
 Educ. and Health Services                          13.4      13.6   16.2                                 nd  $62,824 $66,256
 Leisure and Hosp. Services                         10.0      10.2    9.6                                 nd  $30,678   $36,373
 Other Services                                      3.6        3.3    3.7                           $37,826   $37,962 $42,808
 Government                                         13.8      15.5    15.1                           $83,555  $79,985   $90,556                         L HOU
                                                                                                                                                                          
                                                                                                                                                                             TX            
                                                                                                                                                                                           U.S.

 Sources: Percent of total employment -BLS, Moody's Analytics, 2021, Average annual earnings - BEA, Moody's Analytics, 2021                    Sources: BEA, Moody'sAnalytics, 2021

                       BUSINESS COSTS                                                                                                    LEADING INDUSTRIES BY WAGE TIER MP
                           U.S.=100                                                        HIGH-TECH
                                                                                                                                                                                    Location Employees
                                                                                          EMPLOYMENT                              NAICS Industry                                    Quotient      (ths)
                     Total
                                                                                                 Ths           % of total         sir     Architectural, engineering & rel. srvcs.    ir 2.0 lir    67.2
                                                                                                                              I 6211      Offices of physicians                          1.0       56.9
               Unit labor                                                         HOU             112.4           3.7
                                                                                                                              y 5416      Mgmnt., scientific & technical consult. srvcs. 1.3       45.6
                                                                                  U.S.         7,880.5            5.4           5511      Management of companies & enterprises          0.9       43.3
                  Energy
                                                                                                                                GVL       Local Government                               1.0     302.5
                                                                                     HOUSING-RELATED                            GVS       State Government                               0.9        94.1
 State and local taxes                                                                                                        X 5613      Employment services                             1.1       86.1
                                                                                       EMPLOYMENT
                                                                                                                                6221      General medical and surgical hospitals         0.8       80.3
              Office rent                                                                        Ths           % of toteT       7         Restaurants and other eating pl
                                                                                  HOU            342.4           11.2           4         Grocery stores
                              
                              0     
                                    20     
                                           40      
                                                   60     
                                                          80        120
                                                                   100 
                                                                                  U.S.        14,779.4           101
                                                                                                                              2 6216      Home health care services
                                         
                                         2015             
                                                          2020                                                                  5617      Services to buildings and dwellings

 Source: Moody's Analytics                                                        Source: Moody'sAnalytics, 2021              Source: Moody'sAnalytics, 2021

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                    •                                         SKILLS MISMATCH                                                                           MIGRATION FLOWS
                                % OF TOTAL                                                                                                                INTO HOUSTON TX
  Less than HS                                                                                                                                                                          Number of
                                                                               Undereducated           Balanced       Overeducated                                                       Migrants
   High School                                                                                                                             Dallas TX                                        7,416
                                                                                               HOU
                                                                                                                 U.S.
                                                                                                                    
                                                                                                                                           Austin TX                                        6,381
 Some College
                                                                                                                                           San Antonio TX                                   5,183
   Associate's MM                                                          ECONOMIC DISENFRANCHISEMENT                                     Beaumont TX                                      4,072
    Bachelor's                                                                                                                             New York NY                                      3,647
                                                                                                                                           Fort Worth TX                                    3,392
       Graduate                                                            Gini coefficient                         0.49             66
                                                                                                                                           Los Angeles CA                                   3,263
                                                                           Palma ratio                               3.4             89
                                                                                                                                           New Orleans LA                                   2,475
                        
                        0       
                                5        
                                         10        
                                                   15    
                                                         20     
                                                                25   
                                                                     30    Poverty rate                           14.3%             177
                                                                                                                                           Chicago IL                                       2,388
                                                                           *Most unequal=1; Most equal=403                                 College Station TX                               2,106
             I Occupations            Population
 Sources: Census Bureau, ACS, Moody's Analytics, 2018                                                                                      Total in-migration                             157,483
                                                                                      HOUSEHOLDS BY INCOME, %
                    PER CAPITA INCOME                                                                                                                    FROM HOUSTON TX
                                                                                    0-19,999                                               Austin TX                                          9,122
                                    $ THS
  
  65                                                                         20,000-39,999                                                 Dallas TX                                          8,687
                                                                             40,000-59,999                                                 San Antonio TX                                     6,160
  
  60                                                                         60,000-74,999                                                 Fort Worth TX                                      3,655
                                                                                                                                           Beaumont TX                                        2,941
  
  55                                                                         75,000-99,999
                                                                                                                                           Denver CO                                          2,060
                                                                           100,000-124,999
  
  50                                                                                                                                       New York NY                                        2,020
                                                                           125,000-149,999                                                 College Station TX                                 1,988
  
  45                                                                       150,000-199,999                                                 Los Angeles CA                                     1,982
  
  40
                                                                                    200,000+            _.=1N                              Atlanta GA                                         1,869
                                                                                                                                           Total out-migration                              143,779
           13
         11 12    16
                  14 15  17
                            18
                               19
                                  20
                                     21
                                       
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                                                                                                          5         
                                                                                                                    10       
                                                                                                                             15       
                                                                                                                                      20
                                                                                                                                           Net migration                                     13,704
   2021 HOU 
            $63,864                      DC
                                           $59,865        
                                                           U.S. $64,143                                 
                                                                                                        HOU                U.S.
 Sources: BEA, Moody'sAnalytics                                            Sources: Census Bureau, ACS, Moody'sAnalytics, 2020
                                                                                                                                                          NET
                                                                                                                                                           MIGRATION,
                                                                                                                                                               #
                                                              COMMUTER FLOWS
                                                                                                                                            
                                                                                                                                            80,000
            RESIDENTS WHO WORK IN HOU                                                 WORKERS WHO LIVE IN HOU
                                                                                                                                            
                                                                                                                                            70,000
                                                                                                                                            
                                                                                                                                            60,000
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                                                                                                                                            50,000
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                                                                                                                                            40,000
                                                                                                                                            
                                                                                                                                            30,000
                                    
                                    98.0%                                                               
                                                                                                        97.3%                               
                                                                                                                                            20,000
                                                                                                                                            
                                                                                                                                            10,000
 Top Outside Sources of Jobs                                               Top Outside Sources of Workers                                        
                                                                                                                                                 0
 Houston TX                                                                Houston TX                                                                       
                                                                                                                                                            16          17
                                                                                                                                                                                 
                                                                                                                                                                                   18          
                                                                                                                                                                                               19
 Beaumont TX                                                         0.2   Beaumont TX                                               0.1                     2016         2017      2018        2019
 Dallas TX                                                           0.1   Dallas TX                                                 0.1
                                                                                                                                           Domestic         27,109       -9,481    -9,392        7,147
 Austin TX                                                           0.1   Austin TX                                                 0.1
 San Antonio TX                                                      0.1   San Antonio TX                                            0.1   Foreign         44,463       42,864     32,360      30,746
 College Station TX                                                  0.1   College Station TX                                        0.1   Total            71,572      33,383     22,968      37,893

 Sources: Census Bureau, Moody'sAnalytics, avg 2011-201S                                                                                   Sources: IRS (top), 2019, Census Bureau, Moody's Analytics

        GENERATIONAL BREAKDOWN                                                   EDUCATIONAL ATTAINMENT                                              POPULATION BY AGE, %
           POPULATION BY GENERATION, %                                                % OF ADULTS 25 AND OLDER                                75
                                                                                                                                           70-74
                                                                             100                                                           65-69
          Gen Z                                                                               90
                                                                                                            
                                                                                                              92             
                                                                                                                             94            60-64
                                                                               80                                                          55-59
       Millennial                                                                             gz
                                                                                                                                     50-54
                                                                               60                                                          45-49
                                                                                                            
                                                                                                              2(3            
                                                                                                                             2f3           40-44
          Gen X                                                                40                                                          35-39
                                                                                                                                           30-34
                                                                               20
                                                                                                                                     25-29
   Baby Boom                                                                                                                               20-24
                                                                                              
                                                                                              90              
                                                                                                              90             
                                                                                                                             99            15-19
       Silent &                                                                 0
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       Greatest                                                                            
                                                                                           HOU           TX
                                                                                                                           
                                                                                                                             U.S.            5-9
                                                                                         < High school               High school             0-4
                    0
                           5
                                   10
                                            15
                                                  20
                                                        25
                                                               30 
                                                                  35
                                                                                         Some college                College                       
                                                                                                                                                   0             
                                                                                                                                                                 2           
                                                                                                                                                                             4        
                                                                                                                                                                                      6             
                                                                                                                                                                                                    8
                                          HOU
                                                      U.S.
                                                                                     Graduate school                                                          
                                                                                                                                                                  HOU              U.S.
 Sources: Census Bureau, Moody'sAnalytics, 2020                            Sources: Census Bureau, ACS, Moody'sAnalytics, 2021             Sources: Census Bureau, Moody'sAnalytics, 2020

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                                                                                             (c.'i 10;(G;.,, \q i ,              ,f :1;:!M pl IJ
                                                                                                POPULATION DENSITY
                     X         -0.•'--                ---it.,.__

                    Residents per square mile                                                                                                                                                                                                           \__
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           *'< 4                               66,674                                                                            Montgomery
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                                                                   Austin                                                                 . ,,.    4-
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                                     Distribution, %                                                                                                            ...,
                                                                                                                                                                                                                          j'     ,        ChAmbers
                    County         Pop. Emp. Permits                                                                         ,       -                     ,,         FY       Nr                      _
                                                                                                                                                                                                              '''
                                                                                                                                                                                                                                            ,
   Austin TX                         0.4        0.4           0.1                                                                                                              ,                   ,   •              44 :



   Brazoria TX                       5.3        5.2           6.4
                                                                                                             Foft 13 -,„:,
                                                                                                                      .nd                                                                                             -                               r.:<-.,-f>4;--
                                                                                                                                                                                                                               .. /
   Chambers TX                       0.7        0.6           1.5
   Fort Bend TX                     11.9       12.0         15.5
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                                                                                                                                                                                               7%,
                                                                                                                                                                                                                      Gal *AI_/---
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 , Galveston TX                      4.9        4.8          3.6                                                                                                                    ',.            v                   ,45," 4            --'
                                                                                                                                                                                                   ,                    V
   Harris TX                        65.6       66.7         50.8
                                                                                                                                                  razona-
                                                                                                                                                       - ,A ' ,,-', 7
   Liberty TX                        1.4        1.0          1.8                                                                              . 4
                                                                                                                                                .(J              ,             •               •            ..-
   Montgomery TX                     9.0        8.6         19.8
   Waller TX                         0.8        0.7           0.4
                                                                                                                                                                  ,
  ° Sources' Census Bureau, BLS. A/body's Analytics. 2021
                                                                                                                                                   , .,.
               -     1                     L                                         -


                             MEDIAN HOUSEHOLD INCOME                                                                                                    POPULATION & HOUSING CHARACTERISTICS

                                                                                                                                                                                                                                       Units                      Value Rank*
                                                                                                                        1
                                                                                                                        I                 Total area                                                                                   sq mi                   9,443.8          7
                                                                                                               1........ii
                                                                                                                                            Total water area                                                                           sq mi                    1,183.0        12
                                                                            1.,,                                                            Total land area                                                                            sq mi                    8,258.2        12
                                                                                                                                                  Land area - developable                                                              sq mi                     6,611.3       2
                                                                                -•                                                                Land area - undevelopable                                                            sq mi                    1,649.5       90

                                                                                                                                          Population density                                                          pop. to developable land                     872.7       31
                                                                                                                                          Total population                                                                              ths                     7,206.8         4
   U S 7,olla, s                                                                                                                            U.S. citizen at birth                                                              % of population                         74.2   381
                                                                                                                                            Naturalized U.S. citizen                                                           % of population                         10.3   38
                         r                                 - -                                                                              Not a U.S. citizen                                                                 % of population                         13.7    12

                               MEDIAN COMMUTE TIME                                                                                        Median age                                                                                                                   35.3   329

                                                                                                                                          Total housing units                                                                           ths                     2,824.0         4
                                                                                                                        i
                                                                                                                                            Owner occupied                                                                           % of total                        56.6   269
                                                                                                                   .,....4
                                                             4.                                                r                            Renter occupied                                                                          % of total                        35.5    72
                                                              ih            i,                                                              Vacant                                                                                   % of total                         7.9   231
                                                                                         -     ,
                                                             i - ---i -   ---                   '''----1 '                                  1-unit; detached                                                                         % of total                        63.0   267
        ___ --- -
                                                                                                       ,2-1,                                1-unit; attached                                                                         % of total                         3.2   271
                                                                                                                                            Multifamily                                                                              % of total                        29.1   69
                                                                                                                                          Median year built                                                                                                            1992
   M,rskite-s                                                                                                                             *Areas &pop. density, out of 470 metro areas/divisions, includingmetros inPuerto Rico;
                                                                     P7.
                                                                                                                                          aft others, out of 403 metros.
   ,-                         82                                                                                                          Sources: Census Bureau, Moody's Analytics, 2021 except land area 2070

 Sources: ACS, Moody'sArralytics                                                                                                                                                                                                                                                        I


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                                NEIGHBORHOOD ANALYSIS

A neighborhood is defined in The Dictionary of Real Estate Appraisal, Fifth Edition, copyright 2010,
page 133 by the Appraisal Institute as follows:

   "A group of complementary land uses; a congruous grouping of inhabitants, buildings, or
   business enterprises."

Neighborhoods may be devoted to such uses as residential, commercial, industrial, agricultural, and
civic activities, or a mixture of these uses. Analysis of the neighborhood in which a particular
property is located is important due to the fact that the various economic, social, political, and
physical forces which affect that neighborhood also directly influence the individual properties
within it.

Neighborhood Boundaries. The subject neighborhood generally includes central Waller County.
It is bound by US Highway 290 to the north and FM 529 to the south, the Waller/Harris County line
to the east and the Brazos River to the west. The neighborhood is located approximately 35-40 miles
northwest of Houston's Central Business District.

Access and Transportation. Primary access to this area from the Houston Central Business District
is via Interstate 10, U.S. Highway 90 or U.S. Highway 290. The neighborhood is approximately 35
miles northwest of the Houston Central Business District. The major north/south traffic arteries
include Fm 359, FM 262, FM 1489, and FM 2855. The major east/west traffic arteries are Interstate
10, U.S. Highway 90 and U.S. Highway 290.

Area Development. Historically, land use within the neighborhood has been predominantly
agricultural with commercial use located primarily within the incorporated areas of the
neighborhood. However, commercial (mostly industrial) and residential development has been
taking place within the unincorporated areas of the neighborhood in recent years. This development
has occurred in this area due to the availability of vacant acreage and good accessibility to major
roadways from this area including U.S. Highway 290, Interstate 10 and U.S. Highway 90. The area
has positive influences from its proximity Interstate 10.

Industrial development in the neighborhood includes light industrial, manufacturing facilities,
office/warehouses and heavy industrial facilities. Typical construction features include either
metallic or tilt-wall construction. This activity is located primarily along U.S. Highway 90 and
Interstate 10just to the south of the subject neighborhood. The residential development is occurring
to the northeast of the neighborhood closer to U.S. Highway 290. The neighborhood is
approximately 30%-40% built-up with this number rising due to continued development.

Public Services. The subject is located in an unincorporated area of Waller County and receives
water and sewer service from an on-site well and septic system. Other utilities include electricity
and gas from Reliant Energy and telephone service from AT&T.

Tax Jurisdiction. The neighborhood is located within the jurisdiction of Royal Independent School
District, Waller County, Waller County Road and Waller-Harris ESD #200.



MBL-23061                                 MBLane & Associates                               Page 24
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NEIGHBORHOOD ANALYSIS - CONTINUED

Conclusions. The subject neighborhood benefits from its accessibility to several primary roadways.
There have been several new built-to-suit office/warehouse facilities constructed over the past
several years most of which are located near Interstate 10 and U.S. Highway 90. An amount of new
single-family residential development is to the northeast of the neighborhood in proximity to U.S.
Highway 290. The near term is predicted to see stability for this area due to the recent downturns of
the economy.




MBL-23061                                 MBLane & Associates                               Page 25
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                                         Chriesman                                                                     AREA MAP                                                                                                                                                                         Coldspring.


                                                                                                                   Wellborn                                                                     FOch-irds                                             New Waverly
                                                   Caldwell                                                    •

                                                                                       Snook                                                                                                                                                                   "SarniI-Alston N
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                   9                                                                 290                                                                                                                                                                                                                     New Caney
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   Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 28 of 83

                                   ASSESSMENT AND TAXES

The Waller County Appraisal District (WCAD) maintains the following account number for the
subject property: 257912. The 2022 assessed value with an agriculture exemption and 2022 tax rates
are calculated in the table below.

          2022 Assessed Value

          Land (No Ag Exemption)                                                    $1,094,750

          Ag Exemption                                                             ($1,092,860)

          Land Value after Exemptions                                                    $1,890

          Improvements                                                                       $0

          Final Assessed Value                                                           $1,890

          Taxing Jurisdiction                                    Tax Rate /$100   Tax Liability

          Hempstead ISD                                              $1.136700              $21

          Waller County                                              $0.522593              $10

          City of Hempstead                                          $0.552573              $10

          Waller County Farm to Market                               $0.025852               $0

          Waller County ESD #200                                     $0.097426               $2

          Total                                                      $2.335144             $43


Based upon the above 2022 assessed value and tax rates, the ad valorem tax liability for the subject
property is estimated to be $43. This report is prepared under the assumption that there are no
delinquent taxes as of the date of this report. We have verified whether there are any delinquent taxes
affecting the subject property. The existence of such delinquent taxes could affect proceeds from any
sale of the property.




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                                            SITE DATA

An analysis of a site is particularly important in determining its highest and best use. We were not
provided with a survey of the subject site. In lieu of this, we relied upon the Waller County
Appraisal District records for the identification of the subject site. The following is a discussion of
the most important factors of the subject site.

Location. The subject site is located along the south line of Mack Washington Road, north of FM
1488. The subject is located in the 23000 Block of Mack Washington Road, Hempstead, Waller
County, TX 77445.

Physical Characteristics. The subject property is basically rectangular in shape. Since the Waller
CAD plat maps do not list frontages, the amount of frontages is unknown. The subject has what
appears to have a typical amount of frontage along the south line of Mack Washington Road,
suggesting adequate access and visibility. Please reference the plat map aerial photograph following
this section of the report, as well as the subject photographs in the addenda for a graphic
understanding of the subject property.

Off-Site Improvements. At the subject site, Mack Washington Road are a two-way, two-lane,
asphalt-paved secondary dead-end street with open ditch drainage.

Adjacent Land Use. Land uses immediately surrounding the subject include vacant land to the
north, south, east, and west of the subject. It is noted that there is a small amount of industrial
development along Mack Washington Road to the east and southeast of the subject, as well as a
single-family residence to the north of the subject along Mack Washington Road.

Zoning and Restrictions. The subject site is located within the city limits of Hempstead, which has
zoned that subject as AR - Agricultural/Residential District, which allows for agricultural or single-
family residential uses only. To the best of our knowledge, the subject site is not affected by any
deed restrictions which would adversely affect the subject property. Our value conclusion is subject
to revision should any deed restrictions be present that are deemed detrimental to the subject
property.

Easements. According to the information provided and our visual observation, there are typical
utility easements located along the boundaries of the subject site. There do not appear to be any
easements which effect development of the subject site.

Utilities/Services. There was a private water well observed at the time of the site visit. It is not
known of the working condition of the well. It is unknown if there is a septic system. The subject
is located within the city limits of Hempstead. Currently, the City of Hempstead does not have water
or sewer services to the subject tract. Additional utilities include electricity and telephone services.
Police and fire protection is provided by the City of Hempstead. The subject site is served by the
Hempstead Independent School District, with schools of all levels located throughout the
neighborhood.

Topography/Flood Plain. At the time of our site visit, the subject site appeared relatively level and
well-drained. There do not appear to be any soil or subsoil conditions noted that would adversely


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SITE DATA - CONTINUED

affect construction as evidenced by the existing improvements, though it should be noted that we are
not experts in soil engineering. According to the FEMA Flood Insurance Map 48437C0135F,
published for Waller County and dated May 16, 2019, the subject property appears to be located
Flood Zone X, whichis an area determined to be outside the 0.2% annual chance flood (outside the
500-year flood plain). This determination is made by graphic plotting only, and is not guaranteed.
We recommend that a surveyor determine precise flood plain status for the subject site. A copy of
a portion of the flood map is included in the addenda section of this report.

Environmental. We were provided with an Environmental Assessment of the property, which has
concluded that there are no recognized environmental conditions in connection with the subject
property. This assessment revealed that there were . Upon our site visit to the property, we did not
observe any hazardous contaminants that would be of concern. We are not experts in recognition
and identification of hazardous waste and would recommend a Phase I Environmental Assessment
be prepared to identify any such hazardous contaminants along the subject property and surrounding
properties, if any.

Improvements. The subject is unimproved vacant land.

Conclusions/Analysis. The subject site contains a total of approximately 25.1320 acres (1,094,750
square feet) of land, which is suitable for a variety of uses. The subject is located outside the 500-
year a flood hazard area. The subject has what is considered to be a usable configuration, with a
topography and flood plain location typical of properties in this area. On an overall basis, the subject
is considered to be well suited for commercial retail use.

For further details as to the site configuration, please reference the following plat map and aerial
photograph, as well as the subject photographs, flood plain map, and wetlands map located in the
addenda to this report.




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                                                         Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 31 of 83
                                                     PLAT MAP AND AERIAL PHOTOGRAPH
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                                              ZONING

The subject site is located within the city limits of Hempstead, which has zoned that subject as AR -
Agricultural/Residential District, which allows for agricultural or single-family residential uses only.
To the best of our knowledge, the subject site is not affected by any deed restrictions which would
adversely affect the subject property. Our value conclusion is subject to revision should any deed
restrictions be present that are deemed detrimental to the subject property.




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                                   HIGHEST AND BEST USE

Fundamental to the concept of value is the theory of highest and best use. According to the
Appraisal Institute The Dictionary of Real Estate Appraisal, 7th Edition, copyright 2022, pages 88
and 89, Highest and Best Use is defined as:

    (1) "The reasonably probable use of property that results in the highest value. The four
         criteria that the highest and best use must meet are legalpermissibility, physicalpossibility,
        financialfeasibility, and maximum productivity."

    (2) "The use of an asset that maximizes its potential and that is possible, legally permissible,
        and financially feasible. The highest and best use may be for continuation of an asset's
        existing use or for some alternative use. This is determined by the use that a market
        participant would have in mindfor the asset when formulating the price that it would be
        willing to bid."

    (3) "The highest and most profitable use for which the property is adaptable and needed or
        likely to be needed in the reasonably nearfuture."

The procedure used in this report to estimate the highest and best use of the subject was to consider,
in sequence, the site's legally permissible uses, the site's physically possible uses, the site's
financially feasible uses, and finally, the optimum or highest and best use. Data collected and
analyzed for purposes of the Neighborhood Analysis, and particularly the Site Data, was useful in
arriving at a final decision.

There are four major criteria to be considered when analyzing the highest and best use of a property,
vacant or improved. The criteria are that the highest and best use must be (1) legally permissible,
(2) physically possible, (3) financially feasible, and (4) maximally productive. These criteria should
usually be considered sequentially. We will examine the site's highest and best use as vacant land
since the subject is vacant land.

Highest and Best Use Analysis - "As Vacant"

Legally Permissible. Private (deed) restrictions, zoning regulations, building codes, historic district
controls, and environmental regulations can often preclude a possible highest and best use. The
subject site is located within the city limits of Hempstead, which has zoned that subject as AR -
Agricultural/Residential District, which allows for agricultural or single-family residential uses only.
To the best of our knowledge, the subject site is not affected by any deed restrictions which would
adversely affect the subject property. Our value conclusion is subject to revision should any deed
restrictions be present that are deemed detrimental to the subject property.

Possible Use. The first constraint imposed on the possible use of the property is dictated by the
physical aspects of the site itself This includes such factors as size, shape, terrain, etc. In general,
the larger the site, the greater its potential to achieve economics of scale and flexibility in
development. The subject is located along the south line of Mack Washington Road, north of FM
1488, in Hempstead, Waller County, TX 77445. Overall, the subject tract could facilitate any
possible uses.


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HIGHEST AND BEST USE - CONTINUED

A tract's topography and subsoil conditions are also important considerations in determining its
possible uses. If a site's topography or subsoil conditions make utilization restrictive and costly, the
site's potential future use is adversely affected. As mentioned previously in the "Site Data" section
of this report, the subject is gently sloping and appeared to be well drained. In addition, there are
no apparent soil or subsoil conditions which would adversely affect construction, as evidenced by
nearby improvements.

The possible uses of a tract are also dependent upon the site's utility availability and capacity. If a
site has no access to utility service and cannot acquire access, it is virtually impossible to develop.
Of equal importance is a site's utility capacity. A tract which does not have, and cannot acquire,
high density utility capacity is restricted from some commercial property uses. There was a private
water well observed at the time of the site visit. It is not known of the working condition of the well.
It is unknown if there is a septic system.

By virtue of its shape, topography and utility availability, the subject site lends itself to a wide variety
of possible uses. Physically possible uses include residential, retail, industrial, or office
development.

Financially Feasible Use. From a financial standpoint, any property use which is expected to
produce a positive rate of return is regarded as being feasible. Factors dictating which property uses
are feasible include those which determine the possible and legal uses as well as other important
factors. These factors include the shape, frontage, and location of the tract; access to the tract;
adjacent property uses (in the interest of conformity); and the general neighborhood characteristics.
These factors, along with pertinent market information, help determine what returns could be
expected from alternative property uses. Based on area development, we feel the most likely use of
the subject tract would be for an agricultural or residential use, which we feel would be fmancially
feasible.

Maximally Productive. Given the economic realities of the subject market and the physical
characteristics of the subject site, the maximally productive use of the subject site is for an
agricultural or residential use.

Highest and Best Use, "As Vacant". As noted by the above analysis, an agricultural or residential
use is physically possible, legally permissible, and financially feasible use. Therefore, the highest
and best use of the subject property, considering the subject's location, is an agricultural or
residential use.




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                      MARKET APPROACH TO VALUE - LAND ONLY

In reaching the land value opinion of the subject property by the market data approach, we searched
the County Deed Records for recent sales of comparable properties within this area. We also
consulted real estate brokers and appraisers active in the area as to their knowledge of properties
currently offered on the market for sale which would be in competition with the subject property.

We then investigated, analyzed and compared the available market data to the subject property,
taking into prime consideration the various similar and dissimilar characteristics, including terms
of sale, and made adjustments accordingly in reaching the value opinion of the subject property by
the market approach.

The Sales Comparison approach involves comparing similar land sales to the site with adjustments
for different characteristics. Several units of comparison are available to the appraiser; however, the
primary unit of comparison in this report is the price per square foot. This unit is then applied to the
subject property after adjusting the sales items for different characteristics. Our comparative analysis
involves adjustments for property rights, financing, conditions of the sale, date of sale (market
conditions), location, utility availability, flood plain status, zoning and other physical characteristics.
Our research includes properties in the neighborhood of the subject. We have included, in our
opinion, the most comparable sales of those uncovered in our survey.

The subject tract contains a total of 25.132 acres, or 1,094,750 square feet of land. The land sales
listed on the following pages were considered to be the most comparable to the subject of all those
occurring in the area over the recent past.

The following is a listing of sales considered in our analysis of the subject property.




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LAND ANALYSIS AND VALUE INDICATION - CONTINUED

                                           LAND SALE ONE

Location:              S/L FM 1488, just east of Mack Washington Road

City:                  Hempstead

Size:                  6.260              acres

                       272,686            square feet

Date of Sale:          June 28, 2021

Sale Price:            $550,000

Sale Price Per Acre:   $87,859

Sale Price PSF:        $2.02

Utilities:             Private well and septic

Zoning:                None - Outside the city limits of Hempstead

Flood Zone:            X - Outside the 500-year flood plain

Remarks                This tract has frontage along FM 1488. This is unimproved vacant land purchased for
                       unknown reasons.


                                          LAND SALE TWO

Location:              S/L Highway 290, just east of Sorsby Road

City:                  Hempstead

Size:                  27.780             acres

                       1,210,097          square feet

Date of Sale:          July 16, 2021

Sale Price:            $1,572,000

Sale Price Per Acre:   $56,587

Sale Price PSF:        $1.30

Utilities:             Private well and septic

Zoning:                None - Outside the city limits of Hempstead

Flood Zone:            X - Outside the 500-year flood plain

Remarks                This tract has frontage along Highway 290. This is unimproved vacant land purchased
                       for unknown reasons.




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LAND ANALYSIS AND VALUE INDICATION - CONTINUED

                                          LAND SALE THREE

Location:              W/L FM 1098, just south of Joe Loggins Road

City:                  Hempstead

Size:                  13.415             acres

                       584,375            square feet

Date of Sale:          September 26, 2022

Sale Price:            $500,000

Sale Price Per Acre:   $37,271

Sale Price PSF:        $0.86

Utilities:             Private well and septic

Zoning:                None - Outside the city limits of Hempstead

Flood Zone:            X - Outside the 500-year flood plain

Remarks                This tract is located just north of Prairie View, Texas. This is unimproved vacant land
                       purchased for unknown reasons.


                                          LAND SALE FOUR

Location:              S/L FM 1488, just east of Mack Washington Road

City:                  Hempstead

Size:                  17.463             acres

                       760,697            square feet

Date of Sale:          October 11, 2022

Sale Price:            $2,000,000

Sale Price Per Acre:   $114,527

Sale Price PSF:        $2.63

Utilities:             Private well and septic

Zoning:                None - Outside the city limits of Hempstead

Flood Zone:            X - Outside the 500-year flood plain

Remarks                This tract has frontage along FM 1488. This is unimproved vacant land purchased for
                       unknown reasons.




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LAND ANALYSIS AND VALUE INDICATION - CONTINUED

                                            LAND SALE FIVE

Location:              E/L Post Oak Drive, just north of Highway 290

City:                  Hempstead

Size:                  1.500               acres

                       65,340              square feet

Date of Sale:          March 13, 2023

Sale Price:            $225,000

Sale Price Per Acre:   $150,000

Sale Price PSF:        $3.44

Utilities:             Public water and sewer

Zoning:                Highway Commercial

Flood Zone:            X - Outside the 500-year flood plain

Remarks                This tract is located just to the south of the subject. Property uses to the south and
                       southeast of this tract include a DaVita Dialysis clinic, two restaurants, a Pilot Truck Stop,
                       and a taxidermist building. This is unimproved vacant land purchased for unknown
                       reasons.


                                             LAND SALE SIX

Location:              S/L Mack Washington Road, north of FM 1488

City:                  Hempstead

Size:                  7.410               acres

                       322,780             square feet

Date of Sale:          Under Contract

Sale Price:            $370,000

Sale Price Per Acre:   $49,932

Sale Price PSF:        $1.15

Utilities:             Private well and septic

Zoning:                None - Outside the city limits of Hempstead

Flood Zone:            X - Outside the 500-year flood plain

Remarks                This tract is located along the north line of Mack Washington Road, and two tracts east
                       of the subject tract. The property was listed for sale for $375,000 on June 10, 2022, went
                       under contract in 20 days on July 1, 2022, and is expected to close on May20, 2023.
                       According to the listing broker, the property is under contract for just under the list price.
                       This is unimproved vacant land under contract to be purchased for unknown reasons.




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LAND ANALYSIS AND VALUE INDICATION - CONTINUED

In reaching the land value opinion of the subject property by the market data approach, we searched
county deed records for recent sales of comparable properties within this area. We also consulted real
estate brokers and appraisers active in the area as to their knowledge of properties currently offered
on the market for sale which would be in competition with the subject property.

We then investigated, analyzed and compared the available market data to the subject property,
taking into prime consideration the various similar and dissimilar characteristics, including terms
of sale, and made adjustments accordingly in reaching the value opinion of the subject property by
the market approach.

The following is a summary of sales considered in our analysis of the subject property, which were
considered to be the most comparable to the subject of all those occurring in the neighborhood over
the recent past. The following is a chronological listing of the sales used in this report.


 SALE      DATE        SIZE     SALE         PRICE                          LOCATION
                     (ACRES)    PRICE       ($✓Acre)

    1      6/28/21    6.260    $550,000      $87,859     S/L FM 1488, just east of Mack Washington Road

    2      7/16/21   27.780    $1,572,000    $56,587     S/L Highway 290, just east of Sorsby Road

    3      9/26/22    13.415   $500,000      $37,271     W/L FM 1098, just south of Joe Loggins Road

    4     10/11/22    17.463   $2,000,000   $114,527     S/L FM 1488, just east of Mack Washington Road

    5      3/13/23    1.500    $225,000     $150,000     E/L Post Oak Drive, just north of Highway 290

    6       UC        7.410    $370,000      $49,932     S/L Mack Washington Road, north of FM 1488

  Subj      N/A      25.132       N/A          N/A       S/L Mack Washington Road, north of FM 1488


As indicated in the "Site Data" section, the subject property contains approximately 25.1320 acres
(1,094,750 square feet). As can be referenced in the preceding chart, the land sales range in date of
sale from June 2021 to a property under contract. The land sales range in size from 1.5000 acres to
27.7800 acres; and in sales price from $37,271 to $150,000 per acre.

When comparing these sales to the subject parcel, the factors considered to be the most critical were
conditions of sale, financing terms, date of sale, size, location and access, physical characteristics,
and utility availability. Each of the sales were compared to the subject property and adjusted on that
basis. The following is a discussion of the comparisons used in our analysis.

Financing Terms. The transaction price of one property may differ from that of an identical
property due to different fmancing arrangements. For example, a buyer may pay a higher price in
a transaction which involves below market or favorable fmancing. Favorable financing can be in
terms of a below market interest rate, a small down payment, an interest only loan, a non-recourse
or limited liability loan, or a loan based upon the cash flow of the project. All of the sales in this
report were cash to the seller, therefore no adjustments are deemed necessary.
Conditions of Sale. Adjustments for conditions of sale usually reflect the motivations of the buyer
and the seller. Buyers or sellers acting under duress may cause a sale to be less representative of the

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LAND ANALYSIS AND VALUE INDICATION - CONTINUED

market. A financial, business, or family relationship between the parties may affect the price of a
property. When non-market conditions of sale are detected in a transaction, the sale can be used as
a comparable only with great care. The circumstances of the sale must be thoroughly researched
before an adjustment is made. Although conditions of sale are often perceived as applying only to
sales that are not arm's-length transactions, some arm's-length sales may reflect atypical motivations
or sale conditions due to unusual tax considerations, sale at legal auction, lack of exposure on the
open market, or eminent domain proceedings. If the sales used in the market approach reflect such
situations, an appropriate adjustment must be made for motivation or conditions of sale. All sales
had no special conditions and required no adjustments for this factor.

Market Conditions: Changes in market conditions may be the result of inflation, deflation,
fluctuations in supply and demand, changes in highest and best use, or other factors. Although this
adjustment is often referred to as a "time" adjustment, time is not the cause of the adjustment, but
a reflection of shifts, or changes in market conditions. Therefore, if market conditions have not
changed, no adjustment is deemed necessary, no matter how much time has elapsed. These
adjustments are necessary to correct for changes in value over time due to market factors such as
supply and demand, and economic factors such as inflation. Sales 1and 2 were adjusted upward 6%
for changing market conditions. Sales 3, 4, 5, and 6 are considered to be reflective of current market
conditions with the pandemic, and were not adjusted for this factor.

Location. The subject property is located along the south line of Mack Washington Road, north of
FM 1488. The subject is an interior tract with frontage along Mack Washington Road. Land uses
immediately surrounding the subject include vacant land to the north, south, east, and west of the
subject. It is noted that there is a small amount of industrial development along Mack Washington
Road to the east and southeast of the subject, as well as a single-family residence to the north of the
subject along Mack Washington Road.

Sales 1 and 4 are located along FM 1488 just to the east of Mack Washington Road and Highway
290. Sales 1 and 4 are located superior in terms of visibility, traffic passage, and area development,
and were adjusted downward 40% for this factor. Sale 2 is located along Highway 290 west of
Hempstead, which is superior in terms of visibility and traffic passage, and was adjusted downward
30% for this factor. Sale 3 is inferior to the subject in terms of area development, and was adjusted
upward 20% for this factor. Sale 5 is located superior in terms of area development, and was
adjusted downward 15% for this factor. Sale 6 is located along the north line of Mack Washington
Road just to the east of the subject, and was not adjusted for this factor.

Size. The subject site contains 25.132 acres, whereas the comparable sales range from 1.500 to
27.780 acres. In most areas of the Houston CMSA, smaller tracts of land sell for a higher price per
unit than larger properties. This is due to the fact that purchases of large acreage tracts entail a much
greater capital outlay. This restricts the number of possible buyers as compared to the relatively
larger market for smaller tracts, which tends to disproportionately "bid up" the smaller tract's per unit
prices. Sales 1, 3, 4, 5, and 6 are smaller and were adjusted downward 5% to 30% for this factor.
Sale 2 is relatively similar in size as the subject and required no adjustment for this factor.




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LAND ANALYSIS AND VALUE INDICATION - CONTINUED

Corner/Frontage Influence. Properties which enjoy a corner location or have frontage along more
than one roadway typically sell at a higher per unit value due to increased exposure and accessibility.
The subject is an interior tract with frontage along a single public street. All sales are similar and
were not adjusted for this factor.

Zoning. The subject property is located within the city limits of Hempstead, which has zoned the
subject site as agricultural or residential uses. Sales 1, 2, 3, 4, and 6 were unrestricted to use and
were not adjusted for this factor. Sale 5 is zoned Highway Commercial, and was adjusted downward
5% for this factor.

Site Characteristics. Properties which have very irregular shapes, are located in flood hazard areas
with undevelopable portions or have undesirable topography tend to have lower values. The subject
is rectangular in shape and is located outside the 500-year flood plain. All sales are considered
similar in regards to site characteristics, and required no adjustments for this factor.

Utility Availability. The availability of utilities is a major factor in the development of any
property. If a site has no access to utility service and cannot acquire access, it is virtually impossible
to develop. Therefore, the price paid for such a site would be affected due to its lack of utilities. In
this case, an owner must make up the expense for acquiring the services and enhancing the site's
value. The subject has a private water well and it is unknown if a private septic system is present.
If not, a private septic system would be required. Sales 1, 2, 3, 4, and 6 are similar and were not
adjusted. Sale 5 has public water and sewer, and was adjusted downward 20% for this factor.




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LAND ANALYSIS AND VALUE INDICATION - CONTINUED

The land sales adjustment grid below shows our adjustments as they pertain to the subject property:


                                     LAND SALES ADJUSTMENT GRID

 SALE                                 1            2                3         4           5            6

 PRICE/ACRE                         $87,859     $56,587       $37,271     $114,527    $150,000     $49,932

 DATE                               6/28/21     7/16/21       9/26/22     10/11/22     3/13/23        UC

 CONDITIONS OF SALE                   0%          0%            0%           0%          0%            0%

 MARKET CONDITIONS                    6%          6%            0%           0%          0%            0%

 TOTAL ADJUSTMENT                     6%          6%            0%           0%          0%            0%

 ADJUSTED $/ACRE                    $93,131     $59,983       $37,271     $114,527    $150,000     $49,932

 SIZE (ACRES)                        6.260      27.780         13.415      17.463       1.500         7.410

 LOCATION                            -40%        -30%           20%         -40%        -15%           0%

 SIZE                                -15%         0%            -5%          -5%        -30%          -15%

 CORNER/FRONTAGE                      0%          0%            0%           0%          0%            0%

 ZONING                               0%          0%            0%           0%          -5%           0%

 SITE CHARACTERISTICS                 0%          0%            0%           0%          0%            0%

 UTILITIES                            0%          0%            0%           0%         -20%           0%

 TOTAL PHYSICAL ADJ.                 -55%        -30%           15%         -45%        -70%          -15%

 FINAL ADJ. $/ACRE                  $41,909     $41,988       $42,861      $62,990     $45,000     $42,443


Land Value Conclusion. The sales within the Adjustment Grid have an adjusted sales price ranging
from $41,909 per square foot to $62,990 per acre, with an average adjusted price of $46,950 per acre.
Removing the extreme high results in an average of $42,840 per acre. Based on the above land sales
analysis, and considering the subject's highest and best use, and location, it is our opinion that the
market value of the subject is $43,000 per acre. The "As Is" value of the Fee Simple Estate of the
subject, is as follows:

              INDICATED LAND VALUE FOR THE SUBJECT "AS IS" (Fee Simple Estate)

                Land Area / Acres                      Indicated Value Per Acre      Indicated Land Value

                    25.1320                                    $43,000                   $1,080,676

                                                        Land Value (rounded):            $1,080,000




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                    RECONCILIATION AND FINAL VALUE OPINION

The reconciliation involves weighing the value indications provided by each method in light of its
dependability as a reflection of the probable actions of users and investors in the market place. The
appraiser's fmal conclusion of value may coincide with one of the approaches or it may reflect a
weighing of relative merits of each of the approaches in leading to a final conclusion. One method
of property valuation is used in this appraisal and this final sector is the discussion of the value
indication provided by this approach. Consideration of the relative merits of each value indication
involves reviewing each approach with respect to: 1) reliability of the data used; 2) the applicability
of the approach to the type of property being appraised; and 3) the applicability of the approach in
light of the defmition of value sought.

Final Value Opinion. The Market Approach to Value was utilized, which is the only applicable
approach being the subject is vacant land. The final opinion of value must be based upon that
confirmation of the available market data and analysis which is most appropriate. In our opinion,
the Market Approach is well documented and supported by good market data. Thus, we have placed
emphasis on this approach. It is our opinion the subject property, if properly marketed, could be sold
within a 12 month exposure time. Our opinion of the Market Value of the Fee Simple Estate of the
subject property "As Is", as of the effective date of April 12, 2023, is as follows:

                      ONE MILLION EIGHTY THOUSAND DOLLARS
                                     $1,080,000

There are no hypothetical conditions or extraordinary assumption for this appraisal.




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                               ADDENDA
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                           QUALIFICATIONS
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                         QUALIFICATIONS OF MICHAEL B. LANE, MM

Business
MB LANE & ASSOCIATES, INC.                                                               Telephone:(713) 863-1414
8990 Hempstead Highway, Suite 102                                                              Fax:(713) 863-8822
Houston, Texas 77008                                                                   Email: michael@mblane.com




Employment History
1999 to Present                    MBLane & Associates, Inc              President                      Houston, TX
1997 to 1999                       First Union Capital Markets Group     Vice President                 Houston, TX
1994 to 1997                       Banc One Capital Markets Group        Underwriter                    Houston, TX
1986 to 1994                       Edward B. Schulz & Company            Senior Appraiser               Houston, TX




Education
University of Arkansas             Bachelor of Business Administration   Major: Finance & Real Estate         1985




                                                   Certifications
General Real Estate Appraiser in the State of Texas                           Certification Number: TX-1322609-G
Licensed Real Estate Broker in the State of Texas                                         License Number: 0373554
Member - Appraisal Institute (MAI)                                                      Current - December 31, 2023


                                              Training (1989 to Present)
Appraisal Reporting
Basic Valuation Procedures
Capitalization Theory & Techniques, Part A
Capitalization Theory & Techniques, Part B
Case Studies in Real Estate Valuation
Defensible Appraisal
Demonstration Report Writing
Fundamentals of Separating Real Property, Personal Property & Intangible Business Assets
General Market Analysis and Highest & Best Use
Interagency Rules of Banks & Credit Unions
National USPAP Update
Property Tax
Real Estate Appraisal Principles
Report Writing and Valuation Analysis
Sales Comparison-Adjustment Process
Standards of Professional Practice, Part A
Standards of Professional Practice, Part B
Write It Up
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QUALIFICATIONS OF MICHAEL B. LANE, MAI - CONTINUED


 Types of Real Estate Appraised
                                                                 Partial List of Representative Clients
   & Consulting Assignments
Assisted Living Facilities                      Allegiance Bank              Iron Stone Bank
Automobile Dealership                           Alliance Bank                Lowery Bank
Automotive Repair Facilities                    Bancorp South                Members Choice Credit Union
Business Parks                                  BB&T                         Moody National Bank
Churches                                        BBVA Compass                 Plains State Bank
Condemnation                                    Beal Bank                    Post Oak Bank
Convenience Stores                              CBB Bank                     Prosperity Bank
Fast-Food Franchises                            Chase/JP Morgan              Q10[Kinghorn, Driver, Hough & Co.
Garden Apartments                               Citizens State Bank          Regions Bank
Greenhouse/Nurseries                            City Bank Texas              Smart Financial Credit Union
Industrial & Manufacturing                      Coamerica Bank               StanCorp Mortgage Investors
Leasehold Valuation                             Community First Bank & Trust Stearns Bank
Manual & Full Service Car Washes                East West Bank               Symetra Financial
Medical Office Buildings                        Evolve Bank & Trust          Synergy Bank
Mini-Warehouses                                 Fidelity Bank                Texas Advantage Community Bank
Motels & Hotels                                 Green Bank                   Tradition Bank
Nursing Homes                                   Guaranty Bank & Trust        Trustmark Bank
Office Buildings                                Heritage Bank                US Bank
Recreational Vehicle Park                       IBC Bank                     ValueBank Texas
Resort and Recreational Development             Independence Bank            Wells Fargo Bank
Restaurants/Bars                                Independent Bank of Texas    Wilshire State Bank
Service Stations
Shopping Centers                                    Various Types of Studies
Single-Family Subdivisions                      Environmental Impact Studies
Special Purpose Properties                      Feasibility Studies
Time Share Project                              Highest and Best Use Studies
Townhouse Developments                          Market Studies
Vacant Land




                                                         Certified General

           4
               TALCB
                TEXAS APPRAISER LICENSING 6
                                                       Real Estate Appraiser
                   CERTIFICATION BOARO



                Appraiser: MICHAEL BURKE LANE
                License #: TX 1322609 G                           License Expires: 09/30/2023


                Having provided satisfactory evidence of the qualifications required
                by the Texas Appraiser Licensing and Certification Act, Occupations
                Code, Chapter 1103, authorization is granted to use this title:
                Certified General Real Estate Appraiser
                                                                                         Chelsea Buchholtz
                For additional information or to file a complaint please contact TALCB     Commissioner
                at ‘,vww.talch.texas.gov,
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                                 QUALIFICATIONS OF GARY JONES

Business Address:
MB LANE & ASSOCIATES, INC.                                                                Telephone (713) 863-1414
8990 Hempstead Highway, Suite 102                                                               Fax (713) 863-8822
Houston, Texas 77008

E-Mail: gary@mblane.com

Appraisal Employment History:


2006 -Present                   Appraiser Trainee, MB Lane & Associates, Inc.                            Houston, Texas

2000-2006                       Appraiser Trainee, O'Connor & Associates, L.P.                           Houston, Texas

Certification:                  Trainee certification #1327865-T                           Expires October 31, 2024.

Types of Real Estate Appraisal Assignments

Retail Centers                                                                Garden Apartments
Office Buildings                                                              Motels
Warehouses                                                                    Day Care Centers
Single Family                                                                 Freestanding Retail Buildings
Vacant Land                                                                   Convenience Stores
Condo                                                                         Self-Storage Facilities
Medical Office Buildings                                                      Automotive Sales & Repair Facilities




           .Z\N_                                           Appraiser Trainee
           TALCB
             TEXAS APPRAISER LICENSING
                CERTIFICATION BOARD



            Trainee: Gary Vernon Jones
            Authorization #: TX 1327865 Trainee                              Expires: 10/31/2024
            Review the list of the above Trainee's Supervisors on the License Holder Search at
            www.ta Itimexas.gov.
            Having provided satisfactory evidence of the qualifications required by the
            Texas Appraiser Licensing and Certification Act, Occupations Code, Chapter
            1103, authorization is granted to use this title: Appraiser Trainee

            For additional information or to file a complaint please contact TALCB at        Chelsea Buchholtz
            www.talcb.texas.gov.                                                              Commissioner
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                       SUBJECT PHOTOGRAPHS
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                   SUBJECT PROPERTY PHOTOGRAPHS




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         Front view of the subject property from Mack Washington Road.
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                    SUBJECT PROPERTY PHOTOGRAPHS




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          Front view of the subject property from Mack Washington Road.
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                  SUBJECT PROPERTY PHOTOGRAPHS




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        Front view of the subject property from Mack Washington Road.
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                 SUBJECT PROPERTY PHOTOGRAPHS




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                    Interior view of the subject property.
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                 SUBJECT PROPERTY PHOTOGRAPHS




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                    Interior view of the subject property.
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                 SUBJECT PROPERTY PHOTOGRAPHS




                    Interior view of the subject property.
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                 SUBJECT PROPERTY PHOTOGRAPHS




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                    Interior view of the subject property.
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                 SUBJECT PROPERTY PHOTOGRAPHS




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                    Interior view of the subject property.
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                 SUBJECT PROPERTY PHOTOGRAPHS




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                    Interior view of the subject property.
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                     SUBJECT PROPERTY PHOTOGRAPHS




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                            Water well on the subject tract
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                 SUBJECT PROPERTY PHOTOGRAPHS

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                  Wildlife watering station on subject tract.
                   (Considered to be personal property.)
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                 SUBJECT PROPERTY PHOTOGRAPHS




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                      Turkey feeder on subject tract.
                   (Considered to be personal property.)
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                 SUBJECT PROPERTY PHOTOGRAPHS




                   Mack Washington Road looking west.
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                 SUBJECT PROPERTY PHOTOGRAPHS




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                    Mack Washington Road looking east
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                             FLOOD MAP
                Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 66 of 83
National Flood Hazard     Layer FIRMette                              FEMA       Legend
96°3'21"W 30°7'8"N                                                                                                                        SEE FIS REPORT FOR DETAILED LEGEND AND INDEX MAP FOR FIRM PANEL LAYOUT
                                                                                                0k
                                                                                                                                                                            Without Base Flood Elevation (BFE)
                                                                                                                                                                             Zone A, V, A99

                                                                            C                                                                                               With BFE or Depth Zone AE, AO, AH, vs, AR
                                                                                                                                           SPECIAL FLOOD
                                                                                                                                           HAZARD AREAS                     Regulatory Floodway

                                                                                                                                   F                                        0.2% Annual Chance Flood Hazard, Areas
                                   04
                                                                                                                                                                            of 1% annual chance flood with average
                                                                                                                                                                            depth less than one foot or with drainage
                                                                                                                                                                            areas of less than one square mile zone x
                                                                                                                                                                            Future Conditions 1% Annual
                                                                                                                                                                            Chance Flood Hazard &flex
                                                                                                                                                                       A    Area with Reduced Flood Risk due to
                                                                                                                                          OTHER AREAS OF                    Levee. See Notes. &flex
                                                                                                                                           FLOOD HAZARD         fd          Area with Flood Risk due to LeVeeZone D


                                                                                                                                                              NO SCREEN     Area of Minimal Flood Hazard
                                                                                                                                                                            Effective LOMRs
                                                                                                                                            OTHER AREAS                     Area of Undetermined Flood Hazard zone o

                                                                                                                                                GENERAL - — - - Channel, Culvert, or Storm Sewer
                                                                                                                                             STRUCTURES 1 1 1 1 1 1 1 Levee, Dike, or Floodwall
          Waller County
                      Ff                                                                                                                                             20.2
                                                                                                                                                                      Cross Sections with 1% Annual Chance
          480640                                               AREA OF MINIMAL FLOOD HAZARD                                                                          77.5
                                                                                                                                                                      Water Surface Elevation
                                                                                                                                                                - - - Coastal Transect
                                                                            Z.C41e-                                                                                 — Base Flood Elevation Line (BFE)
                                                                  IIIW
                     FLOODWAY                                                                                                                                         Limit of Study
                                                                                                                                                                      Jurisdiction Boundary
                     ZEZVE                       *Ai .•;                                                                                                          --- Coastal Transect Baseline
                                                                                                                                                    OTHER        —    Profile Baseline
                                                  '484730)135F,         I                                                                        FEATURES             Hydrographic Feature
                                                  etf.'g/16/21319
                                                                                                                                                                            Digital Data Available            N
                                                                                                                                                                            No Digital Data Available
                                                          •
                                                                                                                                              MAP PANELS                    Unmapped
                                                                                   011M
                                                                                                                                                   9             The pin displayed on the map is an approximate
                                                                                                                                                                 point selected by the user and does not represent
                             196 FEET                                                                                                                            an authoritative property location.
          Zayre AE
                                                                                                                                              This map complies with FEMA's standards for the use of
                                                                                                                                              digital flood maps if it is not void as described below.
                                                                                                                                              The basemap shown complies with FEMA's basemap
                                                                                                                                              accuracy standards
                                                                                                                                              The flood hazard information is derived directly from the
                                                                                    City ofHempsteacl                                         authoritative NFHL web services provided by FEMA. This map
                                                                                                                                              was exported on 4/17/2023 at 3:15 PM and does not
                           g5.6 FEET                                                481045                                                    reflect changes or amendments subsequent to this date and
                                                                                                                                              time. The NFHL and effective information may change or
                                                                                                                                              become superseded by new data over time.

                                                                                                                                              This map image is void if the one or more of the following map
                                                                                                                                              elements do not appear: basemap imagery, flood zone labels,
                                                                                                                                              legend, scale bar, map creation date, community identifiers,
                                                                                                                                              FIRM panel number, and FIRM effective date. Map images for
                                                             Feet                                                   96°2'43"W 30°6'37"N
                                                                                                                                              unmapped and unmodernized areas cannot be used for
                                                                            1:6,000                                                           regulatory purposes.
0        250         500         1,000   1,500            2,000
                                                              Basemap: USGS National Map: Orthoimagery: Data refreshed October, 2020
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                           WETLANDS MAP
                                                Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 68 of 83
                    U.S. Fish and Wildlife Service
                                                                                                                         WETLANDS MAP
                    National Wetlands Inventor
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  0        0.075       0.15                   0.3 km
                                                                                                                                                                \.\ •
                                                                                                                                                 This map is for general reference only. The US Fish and Wildlife
April 16, 2023                                                                                                                                   Service is not responsible for the accuracy or currentness of the
                                                                                                                                                 base data shown on this map. All wetlands related data should
Wetlands                                                       ❑         Freshwater Emergent Wetland                        Lake                 be used in accordance with the layer metadata found on the
                                                                                                                                                 Wetlands Mapper web site.
 1=1 Estuarine and Marine Deepwater ❑ Freshwater Forested/Shrub Wetland                                                     Other

 1=1 Estuarine and Marine Wetland 1=1 Freshwater Pond                                                                       Riverine
                                                                                                                                                                                        National Wetlands Inventory (NWI)
                                                                                                                                                                               This page was produced by the NWI mapper
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                COUNTY APPRAISAL DISTRICT RECORD
             Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 70 of 83

Waller CAD

   Property Search Results > 257912 LEWIS JOHN JR                                  Tax Year: [2023 - Values not available   )

   RECEIVER for Year 2023


Property

  Account
  Property ID:             257912                    Legal Description: 5432500 CLEAR CREEK DEVELOPMENT LOT 1
                                                                        ACRES 25.132
  Geographic ID:           432500-000-001-000        Zoning:
  Type:                    Real                      Agent Code:
  Property Use Code:       AG-WDLF
  Property Use Description: WILDFLIFE USE

  Protest
  Protest Status:
  Informal Date:
  Formal Date:

  Location
  Address:                 MACK WASHINGTON           Mapsco:             B13SUBS
                           HEMPSTEAD, TX 77445
  Neighborhood:            CLEAR CREEK DEVELOPMENT   Map ID:             3771 N1
  Neighborhood CD:         S432500

  Owner
  Name:                    LEWIS JOHN JR RECEIVER    Owner ID:           1030220
  Mailing Address:         %SHOOK HARDY & BACON LLP % Ownership:         100.0000000000%
                           600 TRAVIS ST SUITE 3400
                           HOUSTON, TX 77002
                                                     Exemptions:

Values



  (+) Improvement Homesite Value:                         N/A
  (+) Improvement Non-Homesite Value:                     N/A
  (+) Land Homesite Value:                                N/A
  (+) Land Non-Homesite Value:                            N/A      Ag / Timber Use Value
  (+) Agricultural Market Valuation:                      N/A                       N/A
  (+) Timber Market Valuation:                            N/A                       N/A


  (=) Market Value:                                       N/A
  (—) Ag or Timber Use Value Reduction:     —             N/A


  (=) Appraised Value:                      =             N/A
  (—) HS Cap:                                             N/A


  (=) Assessed Value:                       =             N/A
                Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 71 of 83
Taxing Jurisdiction
  Owner:                LEWIS JOHN JR RECEIVER
  % Ownership: 100.0000000000%
  Total Value:          N/A

     Entity 1 Description                         1 Tax Rate       Appraised Value                               Taxable Value        Estimated Tax
     CAD        WALLER CAD                         N/A                                N/A                                     N/A                    N/A
     CHD        HEMPSTEAD CITY OF                  N/A                                N/A                                     N/A                    N/A
     ESD        WALLER-HARRIS ESD 200 N/A                                             N/A                                     N/A                    N/A
     GWA        WALLER COUNTY                      N/A                                N/A                                     N/A                    N/A
     RFM        WALLER CO FM                       N/A                                N/A                                     N/A                    N/A
     SHD        HEMPSTEAD ISD                      N/A                                N/A                                     N/A                    N/A
                Total Tax Rate:                    N/A
                                                                                              Taxes w/Current Exemptions:                            N/A
                                                                                              Taxes w/o Exemptions:                                  N/A


Improvement / Building
  No improvements exist for this property.

Land

    a      Type     Description          Acres        Sqft              Eff Front      Eff Depth          Market Value         Prod. Value
     1     E        E                   25.1320 1094749.92             0.00            0.00                           N/A                 N/A


Roll Value History
     Year      Improvements             Land Market          Ag Valuation         Appraised         HS Cap        Assessed ***
     2023                        N/A                N/A                   N/A               N/A           N/A            N/A
     2022                         $0       $1,094,750                   1,890            1,890              $0        $1,890
     2021                         $0       $1,094,750                   1,890            1,890              $0        $1,890
     2020                         $0       $1,040,010                   1,760            1,760              $0        $1,760
     2019                         $0       $1,007,170                   1,760            1,760              $0        $1,760


Deed History - (Last 3 Deed Transactions)
           Deed
           Date            Type        Description                              Grantor                 Grantee             Volume         Page      Deed Number
                                                                                                    1
     1     9/29/2022       FSJ         FINAL SUMMARY JUDGEMENT CBT GROUP                                LEWIS JOHN JR                               CASE 4:22 CV 03359
                                                               LLC                                      RECEIVER
     2     3/29/2022       WDV         WARRANTY/ VENDOR LIEN                  STYERS ODIS III           CBT GROUP                                    2203998
                                                                                                        LLC


Tax Due
  Property Tax Information as of 04/11/2023

  Amount Due if Paid on:    M, -



               Taxing                   Taxable          Base        Base             Base              Discount /               Attorney          Amount           I
     Year      Jurisdiction             Value            Tax         Taxes            Tax Due           Penalty &                Fees              Due
                                                                     Paid                               Interest
                         w                                                                    --••        •••
  NOTE: Penalty & Interest accrues every month on the unpaid tax and is added to the balance. Attorney fees may also increase your tax liability if not paid by July 1. If
  you plan to submit payment on a future date, make sure you enter the date and RECALCULATE to obtain the correct total amount due.
             Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 72 of 83

Waller CAD

   Property Search Results > 257912 CBT GROUP LLC for Year Tax Year: (2022
   2022
                                                                                                                      )
Property

  Account
  Property ID:                257912                       Legal Description: S432500 CLEAR CREEK DEVELOPMENT LOT 1
                                                                              ACRES 25.132
  Geographic ID:              432500-000-001-000           Zoning:
  Type:                       Real                         Agent Code:
  Property Use Code:
  Property Use Description:

  Protest
  Protest Status:
  Informal Date:
  Formal Date:

  Location
  Address:                    MACK WASHINGTON              Mapsco:            B13SUBS
                              HEMPSTEAD, TX 77445
  Neighborhood:               CLEAR CREEK DEVELOPMENT      Map ID:            3771 N1
  Neighborhood CD:            S432500

  Owner
  Name:                       CBT GROUP LLC                Owner ID:          1026384
  Mailing Address:            9200 WESTHEIMER RD APT 1606 % Ownership:        100.0000000000%
                              HOUSTON, TX 77063-3545
                                                           Exemptions:

Values


  (+) Improvement Homesite Value:             +                $0
  (+) Improvement Non-Homesite Value: +                        $0
  (+) Land Homesite Value:                    +                $0
  (+) Land Non-Homesite Value:                +                $0      Ag / Timber Use Value
  (+) Agricultural Market Valuation:          +         $1,094,750                   $1,890
  (+) Timber Market Valuation:                +                $0                        $0


  (=) Market Value:                           =         $1,094,750
  (—) Ag or Timber Use Value Reduction:       —         $1,092,860


  (=) Appraised Value:                        =            $1,890
  (—) HS Cap:                                                  $0


  (=) Assessed Value:                         =            $1,890

Taxing Jurisdiction
                Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 73 of 83
  Owner:                CBT GROUP LLC
  % Ownership: 100.0000000000%
  Total Value:          $1,094,750

     Entity      Description                        Tax Rate       Appraised Value                              Taxable Value         Estimated Tax
     CAD         WALLER CAD                        0.000000                       $1,890                                  $1,890                   $0.00
     CHD         HEMPSTEAD CITY OF                 0.552573                       $1,890                                  $1,890                 $10.44
     ESD         WALLER-HARRIS ESD 200             0.097426                       $1,890                                  $1,890                   $1.84
     GWA         WALLER COUNTY                     0.522593                       $1,890                                  $1,890                   $9.88
     RFM         WALLER CO FM                      0.025852                       $1,890                                  $1,890                   $0.49
     SHD         HEMPSTEAD ISD                     1.136700                       $1,890                                  $1,890                 $21.48
                 Total Tax Rate:                   2.335144
                                                                                             Taxes w/Current Exemptions:                         $44.13
                                                                                             Taxes w/o Exemptions:                               $44.13


Improvement / Building
  No improvements exist for this property.

Land
                                                                                                            Eff         Eff          Market             Prod.
     #     Type     Description                                             Acres         Sqft
                                                                                                          1 Front       Depth        Value              Value
     1     W6       WILDLIFE MGMT (PREV NATIVE PASTURE)                     25.1320      1094749.92        0.00        0.00           $1,094,750         $1,890


Roll Value History
     Year       Improvements            Land Market          Ag Valuation         Appraised         HS Cap        Assessed
     2023                        N/A                N/A                   N/A               N/A          N/A             N/A
     2022                         $0       $1,094,750                   1,890            1,890             $0         $1,890
     2021                         $0       $1,094,750                   1,890            1,890             $0         $1,890
     2020                         $0       $1,040,010                   1,760            1,760             $0         $1,760
     2019                         $0       $1,007,170                   1,760            1,760             $0         $1,760


Deed History - (Last 3 Deed Transactions)
           Deed
                           Type        Description                              Grantor               Grantee               Volume         Page      Deed Number
           Date
     1     9/29/2022       FSJ         FINAL SUMMARY JUDGEMENT                 CBT GROUP             LEWIS JOHN JR                                  CASE 4:22 CV 03359
                                                                               LLC                   RECEIVER
     2     3/29/2022       WDV         WARRANTY / VENDOR LIEN                 STYERS ODIS III        CBT GROUP                                      2203998
                                                                                                     LLC


Tax Due
  Property Tax Information as of 04/15/2023

  Amount Due if Paid on:    M,




                                                                                                                                                                  I
                                                                     Base                            Discount /
                Taxing                  Taxable         Base                          Base                                       Attorney          Amount
   [ Year                                                            Taxes                           Penalty &
                Jurisdiction            Value           Tax                           Tax Due                                    Fees              Due
                                                                     Paid                            Interest

  NOTE: Penalty & Interest accrues every month on the unpaid tax and is added to the balance. Attorney fees may also increase your tax liability if not paid by July 1. If
  you plan to submit payment on a future date, make sure you enter the date and RECALCULATE to obtain the correct total amount due.
             Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 74 of 83

Waller CAD

   Property Search Results > 257912 CBT GROUP LLC for Year Tax Year: (2022
   2022
                                                                                                                      )
Property

  Account
  Property ID:                257912                       Legal Description: S432500 CLEAR CREEK DEVELOPMENT LOT 1
                                                                              ACRES 25.132
  Geographic ID:              432500-000-001-000           Zoning:
  Type:                       Real                         Agent Code:
  Property Use Code:
  Property Use Description:

  Protest
  Protest Status:
  Informal Date:
  Formal Date:

  Location
  Address:                    MACK WASHINGTON              Mapsco:            B13SUBS
                              HEMPSTEAD, TX 77445
  Neighborhood:               CLEAR CREEK DEVELOPMENT      Map ID:            3771 N1
  Neighborhood CD:            S432500

  Owner
  Name:                       CBT GROUP LLC                Owner ID:          1026384
  Mailing Address:            9200 WESTHEIMER RD APT 1606 % Ownership:        100.0000000000%
                              HOUSTON, TX 77063-3545
                                                           Exemptions:

Values


  (+) Improvement Homesite Value:             +                $0
  (+) Improvement Non-Homesite Value: +                        $0
  (+) Land Homesite Value:                    +                $0
  (+) Land Non-Homesite Value:                +                $0      Ag / Timber Use Value
  (+) Agricultural Market Valuation:          +         $1,094,750                   $1,890
  (+) Timber Market Valuation:                +                $0                        $0


  (=) Market Value:                           =         $1,094,750
  (—) Ag or Timber Use Value Reduction:       —         $1,092,860


  (=) Appraised Value:                        =            $1,890
  (—) HS Cap:                                                  $0


  (=) Assessed Value:                         =            $1,890

Taxing Jurisdiction
                Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 75 of 83
  Owner:                CBT GROUP LLC
  % Ownership: 100.0000000000%
  Total Value:          $1,094,750

     Entity      Description                        Tax Rate       Appraised Value                              Taxable Value         Estimated Tax
     CAD         WALLER CAD                        0.000000                       $1,890                                  $1,890                   $0.00
     CHD         HEMPSTEAD CITY OF                 0.552573                       $1,890                                  $1,890                 $10.44
     ESD         WALLER-HARRIS ESD 200             0.097426                       $1,890                                  $1,890                   $1.84
     GWA         WALLER COUNTY                     0.522593                       $1,890                                  $1,890                   $9.88
     RFM         WALLER CO FM                      0.025852                       $1,890                                  $1,890                   $0.49
     SHD         HEMPSTEAD ISD                     1.136700                       $1,890                                  $1,890                 $21.48
                 Total Tax Rate:                   2.335144
                                                                                             Taxes w/Current Exemptions:                         $44.13
                                                                                             Taxes w/o Exemptions:                               $44.13


Improvement / Building
  No improvements exist for this property.

Land
                                                                                                            Eff         Eff          Market             Prod.
     #     Type     Description                                             Acres         Sqft
                                                                                                          1 Front       Depth        Value              Value
     1     W6       WILDLIFE MGMT (PREV NATIVE PASTURE)                     25.1320      1094749.92        0.00        0.00           $1,094,750         $1,890


Roll Value History
     Year       Improvements            Land Market          Ag Valuation         Appraised         HS Cap        Assessed
     2023                        N/A                N/A                   N/A               N/A          N/A             N/A
     2022                         $0       $1,094,750                   1,890            1,890             $0         $1,890
     2021                         $0       $1,094,750                   1,890            1,890             $0         $1,890
     2020                         $0       $1,040,010                   1,760            1,760             $0         $1,760
     2019                         $0       $1,007,170                   1,760            1,760             $0         $1,760


Deed History - (Last 3 Deed Transactions)
           Deed
                           Type        Description                              Grantor               Grantee               Volume         Page      Deed Number
           Date
     1     9/29/2022       FSJ         FINAL SUMMARY JUDGEMENT                 CBT GROUP             LEWIS JOHN JR                                  CASE 4:22 CV 03359
                                                                               LLC                   RECEIVER
     2     3/29/2022       WDV         WARRANTY / VENDOR LIEN                 STYERS ODIS III        CBT GROUP                                      2203998
                                                                                                     LLC


Tax Due
  Property Tax Information as of 04/15/2023

  Amount Due if Paid on:    M,




                                                                                                                                                                  I
                                                                     Base                            Discount /
                Taxing                  Taxable         Base                          Base                                       Attorney          Amount
   [ Year                                                            Taxes                           Penalty &
                Jurisdiction            Value           Tax                           Tax Due                                    Fees              Due
                                                                     Paid                            Interest

  NOTE: Penalty & Interest accrues every month on the unpaid tax and is added to the balance. Attorney fees may also increase your tax liability if not paid by July 1. If
  you plan to submit payment on a future date, make sure you enter the date and RECALCULATE to obtain the correct total amount due.
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                        ENGAGEMENT LETTER
                                              appraisal
            Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 77 of 83


                                                 Appraisal MC
                                               320 Detering Ste B
                                               Houston, TX 77007
                                               713-623-0559

                              APPRAISAL REQUEST FORM
                          COMPANY: Individual - Commercial NR CC
                                       State Registration Number: 2000252

   File Information
                   File ID: 230310011                                       Due Date: 4/3/2023
            Loan Number: 23232323

   Appraiser Information
              Loan Type: Commercial - Primary                               Appraiser: Lane, Michael
                   Form: Commercial appraisal report
             Service Fee: $1500.00
        Transaction Fee:

      Total Appraiser Fee: $1500.00

   Client Information
                   Client:                                     Borrower or Company Shook, Hardy
                              Shook, Hardy &Bacon L.L.P
                                                                             Name: &Bacon
                 Address:

   Subject Property
              Address or
                          MACK WASHINGTON                              Intended Use: Home Equity
            Intersection:
                          HEMPSTEAD, TX 77445                         Property Type: Commercial
                 County: Waller
       Legal Description:
    Property Description:
                    Map: Map Link

   Property Contact Information
                         Kelsey Morris w/ Mark Dimas
         Contact Person:                                          Work Phone: 832-814-7623
                         Team
             Cell Phone:                                          Home Phone:
   Property Contact
                         Kelsey Morris w/ Mark Dimas Team kelsey@markdimasteam.com
   Notes:




Effective Date of Valuation
            Case 4:22-cv-03359 Document 97-6 Filed
                                                As onProspective
                                                      11/03/23 inatTXSD Prospective
                                                                        Page 78 of 83
                                                                                    at Stabilized
                                              Retrospective
                                                              Is    Completion          Occupancy
Effective Date(s) of Appraisal:                    []          []           []                       []
Property Interest Leased Fee (all or part):        []          []           []                       []
Property Interest Fee Simple (not leased):         []          []           []                       []
Property Interest Leasehold (borrower is
tenant):                                           []          []           []                       []
Property Condition (vacant land/improved):
If Leased Fee approx % leased (excludes
owner):
If Leased Fee approx no of tenants
(excludes owner):
If Leased Fee approx remaining lease
term(s) over 5 years:                              [l          [l           [l                       [l
If Leased Fee approx remaining lease
term(s) under 5 years:                             [l          [l           [l                       [l


Other information believed germane to the appraisal bid:

Additional Notes:
Date       From           Message
3/20/2023 Bautista, Mayra Good morning your conditions have been accepted. Please proceed and accept this
11:03 AM                  order in your queue. Thank you This property has been seized by the government.
                          There have been several cases of fraud associated with the property and an appraisal
                          is needed in order to sell the properties The lot SHOULD be empty but it could be
                          possible they contain structures, these structures are part of the fraudulence that is
                          being investigated. We need the appraiser to physically inspect the property and
                          confirm if anything is on the property.

   Note: This appraisal order is not transferrable to another appraiser. If the appraiser named on this appraisal
   request is unable to complete this assignment please contact Appraisal MC at 713-623-0559. All
   appraisers are approved on an individual basis, if this assignment is completed by another appraiser
   Appraisal MC will not be liable for any appraisal related service fee.
                                             appraisal
         Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 79 of 83


Commercial Order Form
client
* If a client of Appraisal MC or lender makes contact with you directly, contact Appraisal MC immediately.
Do NOT make contact with the client of Appraisal MC or lender directly unless otherwise specified in the
order. Any contact outside of the Appraisal MC system may be cause for removal and forfeit of appraisal fee
due to non-compliance with the appraiser agreement. All communication and reports must be sent through
Appraisal MC only. Failure to comply with this request will result in this order being cancelled and payment
for this order will be rescinded immediately.

Appraiser agrees not to directly or indirectly engage via communication or assignments with any of
Appraisal MC's lender clients for a period of one year without written consent of Appraisal MC. Appraiser
agrees to provide reasonable monetary damages for violation of this Agreement; and, that if monetary
damages are calculable, monetary damages alone are inadequate as a remedy for such violation.
Therefore, the parties agree that equitable remedies, including, without limitation, temporary restraining
order and mandatory injunction enforcing specific performance, are and shall be proper remedies for
violation of this Agreement. If suit is brought to enforce this Agreement, the winning party shall be entitled
to receive, in addition to any actual damages, reasonable attorney(s) fees spent in the prosecution of such
suit.

APPRAISAL MC RESERVES THE RIGHT TO DISCOUNT FEE OF PAST DUE REPORTS BY $50 PER
DAY IF NO NOTIFICATION IS RECEIVED. COMPLETED APPRAISALS MUST BE SUBMITTED BY 2 PM
CST ON THE DUE DATE.

IF A RUSH/PRIORITY ASSIGNMENT IS NOT SUBMITTED ON OR BEFORE THE DUE DATE THE
RUSH/PRIORITY ADDITIONAL FEE WILL BE FORFEITED.

ANY REVISIONS MUST BE SUBMITTED THE SAME BUSINESS DAY OTHERWISE THE ASSIGNMENT
WILL BE CONSIDERED LATE.

Trip Fee Policy:
Trip fees for scheduled appointments are not to exceed $150 unless otherwise approved. A photo of
the subject property with address must be provided for verification

Trip fees may be forfeited for the following reasons:

      • If the assignment is not submitted on or before the due date and the order is cancelled due to
        appraiser delays.
      • Cancelled orders not submitted on or before the due date
      • Assignments that have been withdrawn from


Cancellation policy:
Pre-Inspect: 0%
Post-Inspect based on appt time in system: Fee not to exceed $150 unless otherwise approved
Completed report: 100%

Cancellation fees may be forfeited for the following reasons:

      • If the assignment is not submitted on or before the due date and the order is cancelled due to
        appraiser delays.
      • Cancelled orders not submitted on or before the due date
      • Assignments that have been withdrawn from
         Casethat
(Please note   4:22-cv-03359    Document
                  any cancellations        97-6
                                    will come via Filed on 11/03/23
                                                  message           in TXSD
                                                            from Appraisal MC)Page 80 of 83

TEXAS APPRAISERS: If you are an appraiser licensed or certified in Texas you must accept the TALCB
invite prior to accepting any assignments from Appraisal MC. Do not accept any assignments or begin work
on any assignments and contact Appraisal MC immediately. Appraisal MC will not be responsible for any
work completed by an appraiser not active on the Appraisal MC TALCB panel.
         Case 4:22-cv-03359 Document 97-6 Filed on 11/03/23 in TXSD Page 81 of 83


                                             appraisal
            APPRAISER CERTIFICATION OF TERMS AND STANDARDS OF ENGAGEMENT


The undersigned, an authorized representative of the below named appraiser, appraisal company, or
appraisal management company (the "Appraiser") hereby acknowledges and certifies that the Appraiser has
knowledge and experience in appraising this type of property in this market area and accepts this
engagement to conduct an appraisal of the Subject Property in accordance with the Uniform Standards of
Professional Appraisal Practice (USPAP) and in full compliance with the Dodd - Frank Act and all
applicable state and federal laws and regulations. The Appraiser understands that the Client, a mortgage
lender, has adopted a written Plan for Compliance with the Dodd - Frank Act, and that Client solely is
authorized to engage and compensate the Appraiser for its appraisal services with respect to the Subject
Property.

Upon completion of its services and rendering of its appraisal report on the Subject Property to Client, the
Appraiser agrees to make a written certification in form acceptable to Client that the appraisal of the Subject
Property was conducted in full compliance the Uniform Standards of Professional Appraisal Practice
(USPAP), the Dodd - Frank Act, and all applicable state and federal laws and regulations, including the
licensing or registration regulations of the state in which the Subject Property is located, and that no attempt
was made by the Client or any third party to influence the valuation of the Subject Property through
coercion, extortion, collusion, compensation, inducement, intimidation, bribery or in any other manner.

By accepting this assignment you hereby certify that you are properly licensed and/or certified to complete
the property appraisal in this state and have geographic competency for the market. Geographic
competency includes, but is not limited, to: knowledge of major employers in the area, knowledge of major
recreational draws for the area, familiarity with the local school districts, awareness of all major access
routes, knowledge of market area value trends and that you subscribe to relevant data sources including the
multiple listing services of all markets. You agree to notify Appraisal MC immediately if you are asked to
perform a valuation within an area in which you do not have sufficient knowledge to make an accurate
valuation.


                APPRAISER CERTIFICATION OF COMPLIANCE AND NON-COERCION
                        Regarding Appraisal of Subject Property located at:
                         MACK WASHINGTON, HEMPSTEAD, TX 77445


The undersigned, and authorized representative of the below named appraiser, appraisal company, or
appraisal management company (the "Appraiser") conducting the appraisal of the Subject Property and
preparing the Appraisal Report, hereby certifies that:

     1. The Appraiser conducted the appraisal and prepared the Appraisal Report in full compliance with the
        Uniform Standards of Professional Appraisal Practice (USPAP), the Dodd - Frank Act and all
        applicable state and federal laws and regulations.
     2. The appraisal of the Subject Property was conducted, and the Appraisal Report was prepared, by
        one, or more, qualified and duly licensed or certified real estate appraisers in compliance with
        applicable state and federal law.
     3. The Appraiser conducting the appraisal of the Subject Property has knowledge and experience in
        appraising this type of property in the market area within which the Subject Property is located.
     4. The Appraiser was not provided any predetermined or desired valuation of the Subject Property by
        the Client or any third party, except, if applicable, the Appraiser was provided a photocopy of any
          Case 4:22-cv-03359
       pending   sales contract andDocument    97-6 Filed
                                     addenda thereto,         on 11/03/23
                                                       as permitted by the in TXSD
                                                                            Dodd       Page
                                                                                  - Frank  Act82andofrequired
                                                                                                      83      by
       USPAP standards rule 1-5 (a).
    5. The Appraiser was not influenced by the Client or any third party in determining the valuation of the
       Subject Property and no attempt was made by the Client or any third party to influence the valuation
       of the Subject Property through coercion, extortion, collusion, compensation, inducement,
       intimidation, bribery or in any other manner.
    6. The Appraiser has adopted and enforces written policies and procedures implementing the Dodd -
       Frank Act with respect to all its business activities. The Appraiser provides its officers, employees,
       and agents' adequate training on appraiser independence, including the principles set forth in the
       Dodd - Frank Act, and has mechanisms in place to report and discipline any of its officers,
       employees, or agents who violate its policies and procedures.
    7. The Appraiser will include all requested revisions, reconsiderations of additional comparables and
       underwriting requests within 24 hours at no additional cost. If these items are not addressed and /or
       completed in a timely manner they will not be considered complete and Appraisal MC will not be
       financially responsible for the appraisal.
    8. The Appraiser must be General Certified and meet all investor eligibility requirements in order to
       complete the appraisal.
    9. Appraiser agrees to separately upload or not include the invoice in the report as part of the
       acceptance of the assignment.
   10. Vendor shall be paid on the 30th of the month for the orders completed in the previous calendar
       month. (unless otherwise stated/specified by State appraisal management regulations) The
       appraiser may request to receive payment via ACH. Please contact accounting@appraisalmc.com to
       setup the ACH vendor payment. Otherwise, a check will be mailed to the address listed on the W9.

This Certification of Compliance and Non-Coercion is cumulative of any other or additional certifications
that may be set forth in the Appraisal Report and does not revoke, amend or modify the terms or standards
of engagement with respect to the Appraisal Report. Any violations of AIR must be reported in writing
immediately to support@appraisalmacom


* If a client or lender makes contact with you directly, contact Appraisal MC immediately. Do NOT make
contact with the lender directly. Any contact outside of the Appraisal MC system may be cause for removal
and forfeit of appraisal fee due to non-compliance with the appraiser agreement. All communication and
reports must be sent through Appraisal MC only. Failure to comply with this request will result in this order
being cancelled and payment for this order will be rescinded immediately.

Appraiser covenants and agrees that during the term of this engagement and for a period of one year after
the expiration or earlier termination of the engagement, neither Appraiser nor any employee, affiliate, agent,
or representative of Appraiser (each, a "Restricted Person") shall directly or indirectly, for itself or on behalf
of another person or entity (i) induce, influence, or encourage, any client, customer or other similar third
party of Appraisal MC in the state of the United States where the Appraiser provides services to Appraisal
MC under this engagement (each, a "Customer") to alter, terminate, or breach its contractual or other
business relationship with Appraisal MC, or (ii) solicit appraisal related business or services from, or engage
in appraisal related business or services for, any Customer. Appraiser agrees that the duration, scope, and
geographical area of the restrictions contained herein are reasonable. Upon a determination by a court of
competent jurisdiction that any term or provision of this clause is invalid, illegal, or unenforceable, such court
may modify this clause to substitute the maximum duration, scope, or geographical area legally permissible
under such circumstances to the greatest extent possible to give effect to the restrictions originally
contemplated by the parties hereto.

Appraiser acknowledges and agrees that: (i) the restrictive covenants and other terms and conditions herein
are reasonable and reasonably necessary to protect the legitimate business interests of Appraisal MC; (ii)
that each Restricted Person will be reasonably able to earn a living without violating the terms of this
agreement; and (iii) that the Appraiser has the right to consult with counsel before signing this agreement.
The Appraiser further acknowledges that: (i) the amount of the Appraisers compensation reflects, in part,
         Case 4:22-cv-03359
each Restricted                   Document
                Persons obligations          97-6 MCs
                                     and Appraisal  Filed  on 11/03/23
                                                        rights  under thisin TXSD Page
                                                                           agreement;  (ii) no83 of 83
                                                                                               Restricted
Person has an expectation of any additional compensation, royalties, or other payment of any kind not
otherwise referenced herein in connection herewith; and (iii) no Restricted Person will be subject to undue
hardship by reason of the Restricted Persons full compliance with the terms and conditions of this
engagement or Appraisal MCs enforcement of it.

In the event of a breach or threatened breach by a Restricted Person of any of the provisions herein, the
Appraiser hereby consents and agrees that money damages would not afford an adequate remedy and that
Appraisal MC shall be entitled to seek a temporary or permanent injunction or other equitable relief against
such breach or threatened breach from any court of competent jurisdiction, without the necessity of showing
any actual damages, and without the necessity of posting any bond or other security. Any equitable relief
shall be in addition to, not in lieu of, legal remedies, monetary damages, or other available relief.

APPRAISAL MC RESERVES THE RIGHT TO DISCOUNT FEE OF PAST DUE REPORTS BY $100 PER
DAY IF NO NOTIFICATION IS RECEIVED. COMPLETED APPRAISALS MUST BE SUBMITTED BY 2 PM
CST ON THE DUE DATE.

IF A RUSH/PRIORITY ASSIGNMENT IS NOT SUBMITTED ON OR BEFORE THE DUE DATE THE
RUSH/PRIORITY ADDITIONAL FEE WILL BE FORFEITED.

ANY REVISIONS MUST BE SUBMITTED THE SAME BUSINESS DAY OTHERWISE THE ASSIGNMENT
WILL BE CONSIDERED LATE.

Cancellation policy: Pre-Inspect: 0%; Post-Inspect based on appt time in system: 50%; Completed
report: 100%. (Please note that any cancellations will come via message from Appraisal MC- no
reply is needed)

TEXAS APPRAISERS: If you are an appraiser licensed or certified in Texas you must accept the TALCB
invite prior to accepting any assignments from Appraisal MC. Do not accept any assignments or begin work
on any assignments and contact Appraisal MC immediately. Appraisal MC will not be responsible for any
work completed by an appraiser not active on the Appraisal MC TALCB panel.

pg BY CHECKING THE BOX, APPRAISER ACKNOWLEDGES THAT THEY HAVE READ AND
UNDERSTAND THE FOREGOING PROVISIONS AND THOSE SUCH PROVISIONS ARE REASONABLE
AND ENFORCEABLE. VENDOR ACCEPTS THE APPRAISER AGREEMENT & TERMS.



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UNDERSTAND THE FOREGOING PROVISIONS AND THOSE SUCH PROVISIONS ARE REASONABLE
AND ENFORCEABLE. VENDOR ACCEPTS THE APPRAISER AGREEMENT & TERMS.


                                                                              Date: 3/20/2023
                                                                              Time: 1:53 PM
                                                                              Name: Michael Lane
                                                                                    michael@mblane.com
